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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

                                 18 CR 538 (MKB)


                            UNITED STATES OF AMERICA

                                     -against-

                          NG CHONG HWA A/K/A ROGER NG,

                                                     Defendant.


                          SENTENCING MEMORANDUM ON
                              BEHALF OF ROGER NG




                                             BRAFMAN & ASSOCIATES, P.C,
                                             256 Fifth Avenue – 2nd Floor
                                             New York, NY 10001
                                             Tel: (212) 750-7800

                                             Attorneys for Roger Ng


      Marc Agnifilo
      Zach Intrater
      Teny Geragos
      Jacob Kaplan
             Of Counsel
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       The defendant, Roger Ng, submits this memorandum in anticipation of his sentencing

hearing, scheduled for March 9, 2023. We ask for a sentence of time served.

                                       INTRODUCTION

       Roger Ng is a gentle, slight, humble man who finds himself at the epicenter of one of the

biggest criminal cases in history, and while others far more powerful and richer than him, have

either cut deals with the government or become fugitives (or both), Mr. Ng never ran away and

never sacrificed his principles. Mr. Ng has done everything every Government has asked of him—

first Singapore, then Malaysia, and now the United States. Singapore wanted to question him for

three months in 2017—and Mr. Ng complied. He even returned to Singapore once he was allowed

to leave to continue his cooperation. In the Summer and Fall of 2018, Malaysia wanted his family

to relinquish all of their bank accounts because some of the funds were tainted with money

traceable to 1MDB—and his family complied. The United States indicted him in late 2018 and

wanted him to waive extradition to face his charges—and he did so at the earliest opportunity. He

has never lied to any government agent or authority and has continued to live his life honestly and

with humility in keeping with his Buddhist beliefs. This stands in stark contrast to his alleged co-

conspirators, most of whom have fled, and to Tim Leissner, who apparently did not flee to Brazil

with his mistress soon enough, continued to commit other crimes after his involvement in 1MDB,

and admitted to lying to federal investigators during numerous proffer sessions.

       Mr. Ng was arrested on U.S. charges in Malaysia on November 1, 2018. He was

incarcerated under brutal and cruel conditions in a Malaysian prison for over six months before

being picked up by U.S. authorities. He has lived the last almost four years alone, 10,000 miles

from his family, missing his daughter, who has gone from six to almost 11 years of age without

having her father. There can be no doubt that Mr. Ng has suffered and has been punished every

day since the day of his arrest. While we recognize that of the 1,589 days between November 1,

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2018, and March 9, 2023, only the 186 days prior to this Court releasing him on home confinement

legally counts against any jail sentence, this entire four-and-a-half-year period has caused

tremendous suffering, all of it imposed by the U.S. Government. As such, in connection with this

case, the last 1,589 days should be viewed as punishment for purposes of the ultimate sentence.

       However, Mr. Ng and his family have already been punished in another way. Even before

the announcement of the U.S. charges and before Malaysia filed charges, Mr. Ng’s family paid

back all of the alleged 1MDB funds in various bank accounts held by Mr. Ng’s family and also

paid to Malaysia substantial additional funds not related to 1MDB. Prior to Mr. Ng being arrested,

prior to his knowledge that the U.S. had charged him with a crime, and prior to any formal legal

action in Malaysia, the Ng family, specifically his wife, his mother-in-law and his brother-in-law,

relinquished all of the funds that Malaysian authorities claimed were derived from the 1MDB theft.

But, the Malaysian government did not just take the money derived from 1MDB. The family also

agreed to relinquish bank accounts containing not just 1MDB funds, but virtually the totality of

the family’s combined wealth over generations. (See Ex. 1, Statutory Declarations by Lim Hwee

Bin, Lim Chee Khang and Tan Kim Chin.) Had this been done by the U.S., and not the Malaysian,

Government, jeopardy likely would have prevented any further punishment. Of course, because

the authority exacting the financial punishment was the Government of Malaysia and the one

looking to impose further punishment is the Government of the United States, double jeopardy

does not apply. But, the actions of the Malaysian government plainly arise to a recognized form

of punishment under U.S. law, and this is something this Court should consider as a factor in

rendering a substantially below guidelines sentence.

       Based on these, and other, factors discussed in this Memorandum, Mr. Ng is a uniquely-

situated defendant, one who has already been punished by his country, has been badly mistreated



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while in the custody of his country on U.S. charges, has been separated from his young daughter,

wife and family for four years, and who would suffer from a sentence of further incarceration, far

more than the typical defendant. We ask that the Court show mercy to him, to his daughter, to his

wife, and to his mother, and to sentence him to the prison time he has already served in objectively

sub-human conditions in Malaysia. We ask that the Court permit Mr. Ng to return home, to

Malaysia, where he is still subject to Malaysian criminal charges related to the massive theft of

Malaysian funds.

     PREVIEW OF THIS MEMORANDUM AND THE SECTION 3553(a) FACTORS

       This Memorandum focuses on three general topics. First, we lay out the history and

characteristics of Mr. Ng. Second, we review a sentencing calculation under the U.S. Sentencing

Guidelines. We assert that, consistent with other decisions, the guidelines overstate the seriousness

of Mr. Ng’s offense (not of the overall offense generally). Third, we review ten different sentencing

factors within the scope of Title 18, United States Code, Section 3553(a) that individually and in

combination support a very substantial variance from the guidelines to a sentence of time served.

These Section 3553(a) factors are set forth below:

       First, that Mr. Ng and his family cooperated with the investigations in Singapore and

Malaysia beginning in 2017, including relinquishing funds derived from 1MDB and other

additional funds.

       Second, Mr. Ng voluntarily waived extradition at virtually the earliest opportunity; this is

relevant to Section 3553(a)(1) (characteristics of the defendant) and 3553(a)(2)(A)(promoting

respect for the law).

       Third, Mr. Ng was held for six months in dangerous and sub-human conditions in a prison

in Malaysia based solely on the U.S. charges. During this time, he became gravely ill with two

diseases: severe Leptospirosis, also known as Weil’s disease (a bacterial disease spread through

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the urine of infected rats); and Malaria. This is relevant to 3553(a)(2)(B) (relating to adequate

deterrence). Also, this Circuit has held that being subjected to harsh conditions is an appropriate

basis for a downward sentencing departure.

       Fourth, as detailed extensively in this memorandum, since being extradited to the U.S. four

years ago, Mr. Ng has been removed from his wife of 25 years, his minor child and his family, and

has had to endure prolonged isolation, including suffering from Covid alone.

       Fifth, there is no need to specifically deter Mr. Ng or to protect the public from him

committing future crimes, such that a term of further incarceration in this country or in Malaysia

is unnecessary.

       Sixth, because Goldman Sachs, the ultimate alleged beneficiary of the defendant’s offense

conduct, has paid almost $3 billion to the U.S. Government and $3 billion more to the Malaysian

Government among other reasons, this Court need not issue a sentence of further incarceration to

this defendant in order to achieve general deterrence.

       Seventh, Mr. Ng has already suffered more than any other coconspirator in the 1MDB

theft—he has endured four years being away from his wife, daughter, mother and the rest of his

family, often isolated in his apartment, during the Covid pandemic, while his case proceeded to

trial, causing him extreme emotional distress.

       Eighth, a time-served sentence by this Court will permit Mr. Ng to return to Malaysia to

face criminal charges in Malaysia.

       Ninth, a sentence of imprisonment served in the United States, 10,000 miles from his

family and friends, would work an extreme hardship on Mr. Ng’s mental health and would

exacerbate his diagnosed PTSD symptoms from the abuse he suffered in a Malaysian prison.




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       Tenth, as a non-citizen, Mr. Ng is not entitled to many of the ameliorative sentencing

provisions available to U.S. citizens.

       For these reasons, and due to the unique circumstances of this case, we respectfully ask

that the defendant not be sentenced to a term of further incarceration, and that instead he be

sentenced to the time he has already served under brutal conditions in prison in Malaysia on these

charges and permitted to return to Malaysia to face the charges filed against him by the

Government of that country.

                     INDIVIDUALIZED ASSESSMENT OF ROGER NG

       In determining the appropriate sentence for a defendant, a sentencing court “must make an

individualized assessment based on the facts presented,” which includes “a broad command to

consider ‘the nature and circumstances of the offense and the history and characteristics of the

defendant.’” Gall v. United States, 552 U.S. 38, 50 & n.6 (2007) (quoting 18 U.S.C. § 3553(a)(1))

(emphasis added). In this case, both the circumstances of the offense and the history and

characteristics of this defendant urge this Court to impose a time-served sentence. We address

these considerations in turn by discussing (1) an overview of Mr. Ng’s upbringing and life; and

(2) the words and voices of those who have come forward to write the Court letters describing Mr.

Ng’s many admirable qualities.

       A. Roger Ng’s History and Characteristics

       Roger Ng is a fifty-year old Malaysian citizen who has lived mostly in Malaysia and also

in Hong Kong. (PSR ¶ 119; see also Ex. 2, Letter of Roger Ng at 1.) The letters submitted on Mr.

Ng’s behalf describe him a gentle, kind-hearted, humble, ego-less man. His life has been defined

by hard work, frugalness, providing for his wife, child, parents and in-laws, as well as a deep

respect for authority, his elders, his heritage and doing what is right.



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       Virtually all of the letters submitted on Mr. Ng’s behalf discuss his humble and frugal

nature, and it is the first thing one notices about him. There is a pure goodness about Mr. Ng that

is disarming. Even the Government’s first trial witness, Andy Tai, testified that Mr. Ng was kind

and gentle. (Tr. at 209-210.) Mr. Tai’s sentiments are shared by everyone who meets Mr. Ng. (See

id. at 1 (“Roger has demonstrated his kind and caring nature.”); Ex. 3, Letter of Julie Ng at 2

(“Everyone who knows him will remember him as kind, humble, and compassionate”); Ex. 4,

Letter of SK Cheong at 1 (“he impressed me as a person of impeccable integrity. His personality

reflects an aura which is founded on a conservative up-bringing, from a home that is grounded on

the strongest family values”); Ex. 5, Letter of Tan Soon Muay at 2 (“All this time in New York,

Roger is frugal and even keeps to a vegetarian diet. I know because he does not want to burden the

family further financially, saving every bit he could”); Ex. 6, Letter of Ashley Ng at 2 (“He is a

kind, hardworking, generous, honest and responsible individual”); Ex. 7, Letter of Loke Sow Fan

at 1 (“There are many instances big and small of Roger’s humility and kindness…sending fever

medication to me personally upon hearing that I had high fever which later confirmed as dengue

fever”); Ex. 8, Letter of Lim Chee Khang at 1 (“Roger possessed great self-discipline and was

frugal”); Ex. 9, Letter of Wai Yee Chiong at 1 (“He had become a successful banker, I heard, but

there was not an ounce of arrogance in his demeanor”); Ex. 21, Letter of Kin Hui Chang (“As a

friend, he has always been unpretentious, amicable, generous, honest and down-to-earth.))

       In order to understand Mr. Ng, and the difficulties and trauma he has been through between

his arrest on these charges on November 1, 2018, and today, one must first understand the people

from whom he came, who themselves persevered through war, adversity, anti-Chinese




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discrimination, fear and poverty. His maternal great grandparents migrated to Malaya 1 (which was

then a British colony) during the Qing (or Ching) Dynasty in the early part of the 20 th century

(before the 1911 Revolution led to modern China). His paternal grandparents moved from China

(post-revolution) to Malaya. Like Mr. Ng, they were humble, hard-working people who lived

through the brutal Japanese occupation during World War II, at a time when war crimes were being

committed against the area’s ethnic Chinese residents. The year after Japan surrendered to the

Allied forces, the Malayan Union was born, and in 1957, Malaya became an independent nation.

In 1963, the Federation of Malaysia was formed. As a result of this tumultuous history, Mr. Ng’s

parents and grandparents taught him to take nothing for granted, and that to survive, he would have

to “be honest, righteous, benevolen[t] and positive. Such are the core values that Roger holds

deeply.” (Ex. 5, Letter of Tan Soon Muay at 1.)

          Far from being born into privilege, Mr. Ng worked tirelessly to educate himself and to

achieve acceptance and ultimately some success in the world of banking. Born in Malaysia to a

stern father (who worked as an engineer helping to design and build the national mint and was a

manager with Malaysia’s Central Bank) and a mother who was a schoolteacher, Mr. Ng had an

“overall good childhood… he and his siblings were cared for.” (PSR ¶ 121; see also Ex. 2, Letter

of Roger Ng at 1.) Growing up, he was close with his siblings, and they remain so today. (Id.) His

brother, Rudy Ng, is 52 years old, married with five daughters, lives in Malaysia and works in the

telecommunications field. (Ex. 10, Letter of Rudy Ng at 1.) His sister, Julie Ng, is 46 years old,

married with one son, lives in London and works as a credit ratings analyst. (Ex. 3, Letter of Julie

Ng at 1.)




1
    Until 1963, this part of the world was called Malaya.

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        Growing up, Mr. Ng’s father imposed corporal punishment on Mr. Ng including caning

 and other types of beatings. (PSR ¶ 121; see also Ex. 2, Letter of Roger Ng at 1.) This was not

 unusual in certain traditional, ethnically-Chinese families living in Malaysia at the time. Though

 Mr. Ng acknowledges that his father’s behavior was not appropriate, he never felt mistreated. Id.

 Mr. Ng recalls his father’s discipline:

        Growing up, I was frequently disciplined severely by my father. This was because
        I never knew what I wanted. I spent more time on the school football field and then
        on my school work until I was ten. That year my grades were at their worst. I knew
        I had to face the abyss with my father but the worst was to come. I was disciplined
        with the usual caning and told I was beyond hope. He gave me $10 and told me to
        leave the house for good. It was a shock to me but leave the house I did nevertheless.
        I had walked 10 miles out of my home in a random direction before my mother
        came chasing behind to take me home 5 hours later.

 (Id.) On the contrary, he viewed his father as looking out for his best interests and unfailingly

 showed his father the honor and respect expected of a good son. Mr. Ng’s brother, Rudy, describes

 that their father “was very strict with us, disciplined us in the traditional way where canning [sic]

 was part of the punishment. He guided us every step of the way and inspired us through his unique

 examples and anecdotal teachings.” (Ex. 10 at 1.)

        Throughout his life, Mr. Ng was taught humility first and foremost. Rudy Ng writes, “We

 were taught to respect our elders (superiors), family values to look out for each other, loyalty,

 integrity and honesty.” (Id. at 1; see also Ex. 3, Letter of Julie Ng at 1.) Mr. Ng’s father was

 Buddhist; his mother was Christian. Having the stronger personality, his father’s views prevailed

 in the household. Central to the teachings of Buddhism was the core concept of humility, which is

 the key to wisdom and fulfillment. Being humble is the single most important quality a person can

 have. In her letter, Mr. Ng’s mother says with pride, “my three children were brought up humbly.

 My late husband often repeated his mantra to the children to never beg, steal or borrow and to live

 with pride and dignity.” (Ex. 5 at 2.) Mr. Ng was raised with these Buddhist values and holds onto


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 them today. Mr. Ng’s mother-in-law’s sister writes that, “Roger has always been a religious

 person, [who] strongly believe[s] in Karma. He is God fearing and a believer in ‘good begets

 good.’” (Ex. 11, Letter of Tan Saw Hun at 1.)

        The particular tradition of Buddhism that Mr. Ng and his family follow is the Tibetan

 Nyingma tradition.2 It teaches that one should see past material and emotional distractions to live

 in accordance with the ultimate ground of existence. Mr. Ng has put to practice his Buddhist

 beliefs. One example is how Mr. Ng and his family decided to donate to Shelter Home, a registered

 welfare organization, which has been in existence since 1981 to help abused, abandoned, neglected

 or at-risk children in Malaysia:

        The story of Shelter Home was born from our daughter. When she was born
        prematurely in 2012, we discovered that her nurse that had to abandon her 7-year-
        old son at this shelter as she was a single parent. As new parents, we could not begin
        to imagine her plight of having to do this. We made the decision to not only support
        the shelter, but her 7-year-old son.

 (Ex. 2, Letter of Roger Ng at 2.)

        Mr. Ng started working when he was ten years old performing manual labor in places like

 rubber factories and industrial kitchens. Mr. Ng attended public schools in Malaysia and eventually

 got good grades. At 17 years old, Mr. Ng left Malaysia and attended David Game College in

 London to prepare for A-Level (or Advanced Level) examinations. While studying abroad is a

 luxury in the U.S., Malaysia’s existing race-based policies limit university education opportunities

 for minority races and leaves no choice but for many ethnic Chinese Malaysian students to attend

 schools abroad. Students typically study for their A-Levels for two years. Mr. Ng completed his

 course of study in six months, solely to save money. Nonetheless, he passed his exams. He then



 2
  The Palyul lineage or Palyul Monastary is one of six such traditions of the Nyingma school of
 Tibetan Buddhism.

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 attended City, University of London for three years and graduated with a Bachelor of Science

 degree (with honors) in 1993. Mr. Ng partly paid for his own education by working in low-level

 jobs in finance.

         In 1990, while studying for his A-levels, Mr. Ng met Hwee Bin Lim, who was also an

 ethnic Chinese Malaysian studying in London. They were 18 at the time. Hwee Bin’s brother, Lim

 Chee Khang, described that during Mr. Ng’s courtship with Ms. Lim, Mr. Ng was too poor to go

 out and was unable to pay for Hwee Bin on their dates, a fact that aroused consternation in her

 older brother. Mr. Lim writes, “[Mr. Ng] would take my sister out on dates but [I] noticed that my

 sister would have to pay for her own meals which was unacceptable to me as an elder brother.”

 (Ex. 8, Letter of Lim Chee Khang at 1.) However, Ms. Lim and her family learned that Mr. Ng

 was receiving no family support and that he worked to put himself through school. Mr. Lim “later

 found out from my sister that Roger had insufficient funds from his parents and was working while

 studying to supplement his education funds.” (Id.) Roger continued to study and “worked so hard

 all his life.” (Ex. 3, Letter of Julie Ng at 2.)

         Mr. Ng has had one romantic partner in his life; her name is Hwee Bin Lim. Ms. Lim has

 had one romantic partner in her life; his name is Roger Ng. Their relationship, which started in

 1990 when they were students, continued through the hard work of school, through graduation,

 through Mr. Ng getting his first job in banking, through Mr. Ng working in banking, through the

 birth of their daughter                 through Mr. Ng leaving Goldman, through the 1MDB

 investigations by Singapore and Malaysia, through Mr. Ng’s arrest on U.S. charges, through the

 six months Mr. Ng suffered in inhuman conditions with grave illnesses in a Malaysian prison,

 through four years of Mr. Ng being 10,000 miles away in New York and through a highly

 publicized criminal trial. After all of this, their relationship is as strong today as it was when they



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 were 18 years old. (PSR ¶ 122.) The strength of Mr. Ng’s connection with his wife derives from

 the strength of his character and his resolve.

        Mr. Ng has an incredibly strong work ethic, as many of the letters point out. Mr. Ng moved

 back to Malaysia for two years in 1993. He worked for a local Malaysian bank as a project finance

 loan officer as a way of making money so he could pursue a master’s degree in Business

 Administration (“MBA”). (See Ex. 2, Letter of Roger Ng at 3.) After two years of working and

 saving money, he returned to England in 1995 to pursue his MBA at a different school in London,

 with Imperial College, University of London. While studying for an MBA, Mr. Ng interned at

 Deutsche Bank in London. Once he completed his MBA, he returned to Asia and continued his

 employment with Deutsche Bank. (See id.)

        Mr. Ng had worked for Deutsche Bank for about ten years when Goldman started pursuing

 him to work for its office in Hong Kong in 2005. During his almost two decades with Deutsche

 Bank and Goldman Sachs, Mr. Ng consistently worked 16-hour days. As the trial evidence

 showed, behind the “Masters of the Universe” like Leissner and the other partners of Goldman,

 who conjure up lucrative business deals that are the life-blood of large banks, there is a litany of

 smart, talented workers who deal with the regulatory, legal and other administrative details. Mr.

 Ng was never a deal-maker. He was always a team player, like so many of the hard-working

 Goldman employees, who made the deals happen. He served in that role for twenty years, in two

 banks, never causing trouble, never drawing attention to himself or coming onto the radar screen

 of any of his employer’s compliance departments.

        Despite Mr. Ng’s grueling work schedule, he maintained active involvement with friends

 and family. His sister notes in her letter how while she was studying for her master’s degree in

 London:



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        Roger would take the effort to stopover and check on my wellbeing, no matter how
        hectic his schedules were, to catch up with me over a meal or a drink. I remember
        he once fell asleep while he was talking to me as he had been flying through 3
        different time zones in 3 days.

 (Ex. 3, Letter of Julie Ng at 1.) His niece echoed this sentiment, writing that she “never felt distant

 from [Mr. Ng] despite the physical distancing”:

        [a]lthough my uncle was not always around due to travelling for work, he never
        failed to be around when I needed his help and advice…His advice gave me great
        clarity and guidance whenever I face any difficulties. He is a person I always seek
        for advice, and not once he turned me down despite his busy work schedule.

 (Ex. 6, Letter of Ashley Ng at 1.) Because Mr. Ng always made time for those close to him, his

 family members often relied on him for advice and support. (See, e.g., Ex. 12, Letter of Erlny Low

 Sze Wei at 1 (Mr. Ng’s cousin: “He has always unselfishly provided me with advice and

 unwavering support whenever I needed it since young.”).)

        In 2014, Mr. Ng retired from Goldman. The primary reason that Mr. Ng voluntarily left

 was to care for his ailing father and because the job’s travel and long hours were inconsistent with

 his notion of being a good father himself. (See Ex. 2, Letter of Roger Ng at 3.) Mr. Ng had strong,

 close, loving relationships with both his father, who passed away in January 2015, after a ten-year,

 severe illness, and his mother. As his niece writes:

        When my grandfather was invalid during the period of 2005 to 2015, he took care
        of my grandfather and helped the family greatly. He prioritized his family, and
        would do anything to help them in every way. And for that I look up to him because
        it reflects his values, personality and work ethic.

 (Ex. 6, Letter of Ashley Ng at 2.) Mr. Ng’s sister also recalls that as their father’s health

 deteriorated, “Roger was planning to take a step back in his career or somehow find a way to come

 back to Kuala Lumpur.” (Ex. 3 at 1.) For Mr. Ng, taking care of one’s family was ingrained at a

 young age. As a child, he was often tasked to take care of his grandparents “who suffered blindness

 and dementia in their old age.” (Ex. 5, Letter of Tan Soon Muay at 1.)


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        While spending time caring for his ailing parents, Mr. Ng began focusing on his own

 family. After many years of trying to conceive a child, the couple’s daughter,               was born

 on June 3, 2012, two years after Mr. Ng left the Investment Banking Division (“IBD”) of Goldman

 and entered the firm’s Securities Division. His sister, Julie, writes that “it was no surprise when

 my mother told me that Roger had decided to retire from Goldman[] in 2014. I believe one of the

 reasons for this was also due to the arrival of his daughter,            in 2012, after

 over the span of 10 years.” (Ex. 3 at 1.) Mr. Ng’s friends write this Court about the “insurmountable

 love and care” Mr. Ng showers on              (Ex. 7, Letter of Loke Sow Fan at 2; see also Ex. 12,

 Letter of Erlny Low Sze Wei at 1 (“having witnessed Roger build a successful and aspiring career

 through his steadfast work ethics, become a devoted husband and loving father to his young

 daughter has been a real inspiration to our entire family”).) It is horribly ironic that a reason Mr.

 Ng left Goldman was so he could spend as much time as possible with his wife and his daughter.

 Instead, the last time Ng was with his daughter was October 31, 2018. She was six years old at the

 time. In four months, she will be 11.

        Despite Mr. Ng’s separation from               he does the best he can to be a present, active

 father. As he has done his whole life, Mr. Ng reads to his daughter every day before bed. Every

 morning (New York time), Mr. Ng reads stories to                from the other side of the world before

 she falls asleep. Mr. Ng’s niece Ashley visited Mr. Ng last year and observed this ritual and Mr.

 Ng’s dedication to his daughter:

        The present distance and time difference did not deter him from interacting with
        her. He would religiously wake up early in the morning everyday to read bedtime
        stories to his daughter, and in the evening, to be there when she wakes up for school.
        Throughout the day he would constantly be on facetime, to always be present with
        his family like nothing changed. His commitment to dedicate time with his daughter
        and share with her the values of life, stories of different religions to help form the
        right mindset to face difficulties in school and in life must have been keeping his
        sanity.


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 (Ex. 6, Letter of Ashley Ng at 2; see also Ex. 13, Letter of                      (“there was one thing

 that he never failed to do and that was called his beloved daughter,          . The twelve hour time

 difference did not stop him from keeping this date daily.”); Ex. 21, Letter of Kin Hui Chang

 (“Whenever I visited him, his daughter would be in the background, on video-call, doing her own

 thing or getting ready to go to bed. For months, he would read her historical stories in nightly

 installments. Something they would watch the same shows on TV, spending time together across

 time zones.))

        Mr. Ng tries his best to deflect his daughter’s questions about when he is coming home. As

 she has gotten older, her questions are more pointed: “But Covid is over; why are you still there?”

 Mr. Ng’s nephew J           writes that “I feel terrible whenever she asks me about her father and

 when he is going to come back.” (Id. at 1.) Mr. Ng’s mother-in-law’s sister, Tan Saw Hun, writes

 that            “suffered in silence. She used to ask other members of the family about her father,

 but no one could bring themselves [to] give her answers.” (Ex. 11, letter of Tan Saw Hun at 2.)

 With her increased age and the endless press coverage about Mr. Ng’s case and the 1MDB matter

 generally,           unquestionably knows why her father has not come home. Yet, she has never

 said a word to her mother or father. Dutifully and sadly, she has waited half of her life for someone

 to tell her when her father will be back, while she herself suffers in silence.

        Mr. Ng’s family is concerned for             s mental state. As Ms. Lim’s cousin, Tan Ee Sze

 wrote, “[Roger being gone] has affected the physical and social health of their daughter. Roger

 used to run and play sports with her but since his absence, she has lost interest in socializing or

 any other activities.” (Ex. 14, Letter of Ee Sze at 2.) Ms. Tan goes onto state that             “used

 to be a very cheerful and happy girl, now [] she has changed to become a quiet and very lonely 10




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 year[] old.” (Id.) Mr. Ng describes for the Court how they are able to continue their father-daughter

 relationship under these circumstances:

         Every morning, my daughter would FaceTime me at 6 am when she wakes up while
         it would be 5 pm in New York. She would want me to stay online with her while
         she prepares for school. She does this religiously. She reminds me that on
         November 1st, 2018, I told her I went for a meeting and have yet to return home. I
         was without contact for more than 6 months. If there is any time that I am
         unavailable she develops a panic and frantically calls repeatedly. Our FaceTime
         when she wakes up at 6 am and goes to bed at 9 pm have become sacred for both
         us to ensure she does not experience another traumatic event. I am gutted every
         time I think of how all this has badly affected her since she was six years old.

 (Ex. 2 at 8.)

                    despair and resignation is felt by the rest of the family. Mr. Ng’s mother is 80.

 She suffers from heart disease and arterial blockage. She has seen her son twice in more than five

 years—and was deeply concerned for him. Just as she has already been deprived of her son’s love

 and presence late in her life, Mr. Ng has been deprived of being with his mother in her final years.

 She writes to this Court:

         Your Honor, I am heading towards my twilight years. I sincerely hope to see my
         son again. I almost lost Roger once and the fear of losing him or not able to see him
         for a long time keeps me awake most nights. The sudden fear sets in each time I
         think of Roger.

 (Ex. 5, Letter of Tan Soon Muay at 3.)

         Ms. Lim, who has endured without a husband, and has raised their daughter without a

 father. Ms. Lim’s aunt writes “Despite of the difficulties, Hwee Bin continues to devote time to

         , especially her education and upbringing. She is now taking care of            like a single

 parent.” (Ex. 11, Letter of Tan Saw Hun at 2.) And, while this is far less significant than the human

 cost of Mr. Ng’s absence, the money required to finance a New York apartment rental for four

 years is considerable. In all, Ng’s being 10,000 miles from home for the last several years have




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 taken a massive toll on Mr. Ng’s family. (See Letter of SK Cheong at 2: “The impact is felt not

 only by Roger alone, but also his elderly mother, his wife and young daughter.”)

         The toll on Mr. Ng himself is difficult to comprehend. As recounted in detail below, he

 spent six months between November 2, 2018, and May 3, 2019, in a Malaysian prison under

 conditions that are objectively and conclusively cruel and inhumane, and which have resulted in

 physical damage and psychological trauma that persists to the present and may last forever. Mr.

 Ng endured weeks of solitary confinement without leaving his small cement cell. He slept on a

 cold, damp cement floor which, when it rained, became covered with human waste from the hole

 in the floor into which Ng defecated and urinated. Mr. Ng describes these conditions in his letter

 to the Court:

         I was placed in solitary confinement in a 12ft x 6ft cell alone with a single hole in
         the ground for sanitation, a single water tap and with a narrow opening 2ft x1ft for
         ventilation. The narrow opening allowed access to “air” which the only ventilation
         in the constant 90°F humid tropical heat but unfortunately also the mosquitos, rats
         and other vermin from which I later contracted infectious diseases from. When I
         was not in the hospital or the prison infirmary, this was to be my home for the next
         183 days.

 (Ex. 2 at 5.)

         Due to the infestation, Mr. Ng contracted severe Leptospirosis and Malaria. Ng grew

 gravely ill, fell unconscious and lost 40% of his body weight:

         Within the first month of being imprisoned, I fell very ill. On November 18th, 2018,
         less than three weeks after being detained, I was vomiting constantly and
         experiencing severe diarrhea. I asked for medical treatment but was declined and
         issued only paracetamol (known as Tylenol in the U.S.). I did not recover and felt
         very ill and delirious. Three days later, I was allowed to visit prison infirmary to
         seek medical treatment, and I fell unconscious several times on the infirmary floor.
         When I came around and was attended to by the prison infirmary medical assistant,
         he diagnosed me with dysentery and issued me with re-hydration salt, anti-vomit
         medication and more paracetamol and sent me back to solitary confinement. After
         a week, I still did not recover. By November 26th, my condition worsened, I was
         also feeling extreme chills and body aches.



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        Despite my illness, I had to continue to appear in court for case management. To
        get to court, we were hand cuffed together in a 20-person single long chain. We
        were then loaded into an overcrowded police truck. The hour long journey in the
        police truck to the court house was a treacherous given we were all chained together
        with no seats while moving at very high speeds. Today, I still have flashbacks of
        being herded in chains and sometimes walking in public place can be so
        overwhelming that I have to leave.

        On November 30th, I asked for medical treatment once again as my condition
        continue to deteriorate. It would only be three days later on December 2nd, that I
        would be attended by a doctor and finally, a blood test was done. I was called back
        to the prison infirmary the next day, as I was tested positive for Malaria and
        Leptospirosis (a bacterial disease spread through the urine of infected animals).
        That day I was immediately transferred to the emergency ward of a civilian hospital
        as the illness could not be treated within the prison. At the hospital, I was chained
        to the bed and in quarantined ward for treating Malaria, as the virus was deadly and
        transmittable, for one week. After that, for more than a month, from December 9th
        and January 16th, I kept in the prison infirmary and was in an out between the
        hospital for treatment. I was constantly vomiting and purging (blood). I could not
        eat. In less than three months, I lost nearly 40% of my body weight. I knew that I
        was dying.

 (Id. at 6.) The undersigned was in court in Kuala Lumpur on January 4, 2019. Seeing the condition

 Mr. Ng was in, and hearing of his symptoms, the undersigned asked Mr. Ng’s Malaysian lawyer,

 Datuk Tan Hock Chuan (“Datuk Tan”) to ask the Court to Order the prison to produce Mr. Ng’s

 medical records. Datuk Tan did make the request, the undersigned was informed, however, the

 prison never produced medical records were ever produced.

        His sister recalls that when she “saw him for the first time after he was imprisoned in

 November 2018, he had lost so much weight and looked horribly gaunt.” (Ex. 3 at 2.) At the earliest

 opportunity, after meeting the undersigned twice, Mr. Ng agreed to waive extradition. (See Ex. 2,

 Letter of Roger Ng at 6.) After waiving extradition, he continued to live in these conditions for the

 next nearly three months:

        The lights in the cell were kept on 24 hours a day. The wardens woke me up every
        two hours during the night to ensure I was alive. I developed severe a sleep disorder
        and insomnia issues that I have not been able to recover from since. I was only
        allowed out of my solitary confinement once a week for one hour into a yard for


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         sunlight. Otherwise, I was confined to my cell alone all the time. The cell was
         always damp and vermin infested. There were frequent altercations between the
         inmates and the wardens in the block and inmates would be subdued with brute
         force with of thick rubber pipes as batons. The yard time was retracted as collective
         punishment for everyone the entire block and on many occasions, I was in solitary
         confinement for as long as two weeks without being let out at all and no sunlight.
         Many days I would be confine 24 hours in the cell without any interaction.

 (Id. at 5-6.)

         Finally, on May 3, 2019, he began the three-day journey to the U.S. Ten thousand miles

 away from home, recovering from these diseases, he continues to bear the physical and emotional

 scars of enduring these six months of sub-human prison conditions and likely always will. Once

 Mr. Ng was picked up by U.S. authorities, taken to the U.S. and arraigned, he was given the agreed-

 upon condition of house arrest. This meant that he spent virtually all of his waking hours alone.

 As stated in the letter of Teny Geragos, the day Mr. Ng arrived, he “was weak, thinning and pale.”

 (Ex. 15, Letter of Teny Geragos at 1.) The day after Mr. Ng arrived in the U.S., the undersigned

 and Ms. Geragos began opening statements in the case of United States v. Keith Raniere, 18 Cr.

 204 (NGG) which continued for the next eight weeks. (See id. at 1.) She wrote:

         On the very day of Roger’s arrival, Marc Agnifilo and I started a different Eastern
         District trial that lasted for the following eight weeks. Roger’s only tie to the United
         States, given his bail conditions, were now themselves unavailable to him for two
         months. Roger, gracious as always, wished us the best on our trial and consistently
         inquired about how we were doing—he, who we could not spend time with, who
         was alone, and scared, and about to embark on a fight for his own life, always asked
         about us. I found this remarkable and profoundly moving.

 (Id. at 1-2.) “Under house arrest and alone in New York, I was grateful for basic necessities, such

 as sanitation with plumbing, running water, windows and shelter. However, the isolation and road

 to recovery has been long, unrelenting, and full of hopelessness.” (Ex. 2, Letter of Roger Ng at 7.)

         With the onset of the Covid-19 pandemic in the early part of 2020, Mr. Ng’s loneliness

 intensified, as did his concern for his family. As Ms. Geragos writes in her letter:



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        Between March and June 2020, I would Zoom with Roger for ten hours each day
        as we reviewed discovery, as necessitated by the Protective Order. He was
        permitted to do nothing else. On his Zooms with me, Roger would express grave
        concern for his family, parents, and in-laws. What would happen if they fell ill?
        What if          got sick? How could his wife manage alone? What if the inverse
        happened? He was helpless and alone during a time when we all needed support
        the most.

        Roger was in extraordinary circumstances, within a time of extraordinary
        circumstance. He had no family visitation nor social visits. He was granted sixty
        minutes of exercise three times a week and ninety minutes of grocery shopping
        once a week. He could not receive deliveries of food or household items because
        of his building’s restrictions combined with his pretrial release conditions. Through
        it all, Roger never once complained. Instead, he would inquire about my family,
        and kept a mild-mannered humor that belied the inner turmoil we all knew he must
        have been feeling.

 (Ex. 15, Letter of Teny Geragos at 2-3.) In the Spring of 2020, Ng reported that he had clear Covid

 symptoms. We monitored his progress from afar, but, as he was forced to do in prison in Malaysia,

 he endured a serious, potentially fatal illness, in this case, Covid, alone and without any human

 interaction. He was isolated from family until a full fourteen months after the lockdown, when he

 “finally saw his sister and nephew.” (Id. at 3.)

        Being 10,000 miles from his family, Mr. Ng relied on his religious beliefs. As an unlikely

 and fortunate stroke of luck, or perhaps Karma, one of the very few Palyul Monasteries in the U.S.

 is located in the Eastern District of New York in Elmhust, Queens. It is there, at the Nyingma

 Palyul Dharma Center, that Mr. Ng sought refuge. As described by the Venerable Khenpo Tenzin

 Norgay Rinpoche, a Buddhist monk teaching at the Center, Mr. Ng has consistently participated

 in their “daily prayer practices” to live through the difficulties of the last several years. (Ex. 16,

 Letter of Khenpo Tenzin Norgay Rinpoche at 1.) Mr. Ng has immersed himself in prayer as a way

 of coping with the hardship, uncertainty and fear of the last four years. He has regularly

 participated in prayer events with their community and it has provided “him much needed refuge

 and support to continue to endure this very challenging and stressful period in his life.” (Id.) Mr.


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 Ng’s mother writes that they “speak often about religion and the path to the land of God. [The

 Tibetan Centre is] where Roger found his peace and path to spiritual wisdom.” (Ex. 5, Letter of

 Tan Soon Muay at 3.)

         The concept of suffering is at the core of Buddhist teachings. The Buddhist learns that

 suffering derives from craving life to be different than it is. The pursuit of material wealth, the

 frustration of unfairness, the desire for power or fame, these are the things that cause suffering. To

 avoid suffering, the Buddhist leads a contained existence, focusing on things that are permanent:

 one’s character and humility. In a world that takes much away, these things remain. To that end,

 last Memorial Day weekend, he participated in the Tibetan Buddhism religious practice for three

 days which included fasting for 72 hours. (See Ex. 14, Letter of Ee Sze at 1.) Over the last four-

 and-a-half years, Mr. Ng has led the existence of a monk, eating alone, sleeping alone, living alone,

 hoping his current circumstances are temporary, focusing on maintaining his resolve, suppressing

 his terror to joyfully read to his daughter before bedtime, assuring his wife and mother that “this”

 will not last forever.

         He says reassuring things to his loved ones but privately, he is terrified. With not just the

 U.S. case, but a pending case in Malaysia, also related to 1MDB events, he lives in a state of

 despair and hopelessness. Mr. Ng’s family and friends are concerned that Mr. Ng’s “emotional

 health has been deteriorating.” (Id. at 1.) Mr. Ng’s niece Ashley describes for the Court how she

 “witnessed first hand my uncle’s solitude behavior from living alone in isolation the past ... years

 and my grandmother’s sadness seeing my uncle in such a poor emotional state.” (Ex. 6, Letter of

 Ashley Ng at 2.) Probation and Pretrial Services showed similar concerns given Mr. Ng’s

          . (PSR ¶ 131.) At Probation’s urging, Mr. Ng has been seeing a psychiatrist to cope with

 insomnia and depression and a therapist weekly to help cope with his pain. His diagnoses and



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 treatments are discussed in detail below. Mr. Ng has been grateful to receive this care in recent

 months, as it has helped treat his depression and his reliance on          to soothe his pain:

        My therapist had diagnosed me with severe depression and anxiety. In the past 7
        months, my psychiatrist prescribed a drug called Gabapentin to help treat
                   and help with my sleep disorder condition. The therapy is something
        very new to me. I found talking about mental issues extremely uncomfortable.

 (Ex. 2, Letter of Roger Ng at 10.)

        For the past four years, Mr. Ng has lived a life that is unlike any other. He is alone with

 “obsessive thoughts” that he “cannot control.” (Id.) He describes this isolation “as a regression

 into myself and I cannot plan anything beyond the moment. This feeling is very helpless.” (Id.)

 While he no longer is subject to the active cruelty and disease of the prison in Malaysia, he remains

 subject to a condition that is cruel and terrifying nonetheless. He has lived in isolation, fear, and

 hopelessness over missing his child grow up, missing his mother in the final years of her life,

 missing his wife and family. Prisoners in the U.S. get regular family visits; they hold their children,

 they touch their spouse’s hand, they are able to kiss and hug hello and goodbye – in sum, they are

 able to satisfy, however imperfectly, the single most basic human need: being close – physically,

 actually close – to the people they love.

        B. Nature and Circumstances of Roger Ng’s Offense
        The conduct at issue was addressed at a six-week trial and summarized by the Probation

 Department in the PSR and counsel’s Objections to the PSR (ECF 222). Although we respect the

 jury’s verdict, it was not an affirmation of every Government allegation or a wholesale acceptance

 of every witness’s testimony. As this Court presided over the trial, it is in the best position to

 determine the scope of Mr. Ng’s conduct within the parameters of the jury’s verdict.




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                                             ANALYSIS

    A. The Sentencing Guidelines Overstate the Degree of Mr. Ng’s Alleged Culpability

         Driven by the multi-billion-dollar crime committed by Low and others, the U.S.

 Sentencing Guidelines lead to a draconian, and we submit, inappropriate sentence regardless of

 how they are calculated. However, while the Guidelines are no longer binding on the Court, nor is

 the Court compelled to even view them as reasonable, the law is clear that the Guidelines must be

 calculated and consulted as the first of many steps as part of the sentencing process.

                1. Base Offense Level

        The Probation Department states that the Base Offense Level for Count One charging the

 Foreign Corrupt Bribery Act (“FCPA”), Bribery provision, is a Level 12 under § 2C1.1(2). Insofar

 as § 2C1.1 is the guideline section applicable to bribery offenses, the defense agrees that this is the

 base offense level for Count One. (PSR ¶ 87.)

        However, the Probation Department engages in the same sentencing calculation for Count

 Two, the FCPA Circumventing Accounting Controls provision, as it does for the bribery provision.

 We respectfully argue that this is an error, though likely a harmless one. As an initial observation,

 because the Justice Department has never before brought a FCPA Accounting Controls provision

 count to trial, there is no precedent as to what guidelines provision would apply to the

 circumvention of a company’s accounting controls. We do not engage in a Guidelines analysis for

 Count Two.

        The Base Offense Level for Count Three is 8, pursuant to U.S.S.G. § 2S1.1(a)(2).

                2. Two Level Increase for More Than One Bribe

        The Probation Department awarded a two-level increase for more than one bribe. (PSR ¶

 88.) While the evidence is indeed clear that there was in fact more than one bribe, the defense

 opposes the two-level increase because there is no credible evidence that Mr. Ng knew there was

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 more than one bribe. The only evidence in the case that Mr. Ng could have possibly known that

 Leissner and Low would make more than one bribe stems from Leissner’s incredible testimony

 about the meeting in London in February 2012 where Low drew up and annotated an international

 bribery chart laying out all the Malaysian and Abu Dhabi officials they would one day bribe.

                  3. Thirty-Level Increase for Bribes Exceeding $550,000,000

        As we argued to the Probation Department, the defense objects to the 30-level increase for

 the total amount of the bribes paid by Low, Leissner and the others because there is no evidence

 in the record that Mr. Ng was told, knew, or should have known of the total amount of the bribes

 paid. (PSR ¶ 89; Ng Objections to the PSR at 15.) To be clear, not even Leissner, who himself

 paid many of the bribes and kickbacks to the bribe recipients, knew to whom the money was being

 paid. Moreover, there is no evidence that Leissner ever told Mr. Ng the amount of the bribes or to

 whom they were being paid, nor was there evidence that Mr. Ng was involved in negotiating the

 payments of those bribes. In fact, during Project Maximus, Leissner texted Andrea Vella following

 a meeting with Low, “Please don’t tell Roger about our meeting with the friend.” (DX-2445.) This,

 we contend, is affirmative evidence of Leissner keeping the bribery conspiracy from Mr. Ng. In

 light of this, we object to Mr. Ng being sentenced in accordance with the total amount of the bribes

 as this amount was unforeseeable to him and should not be considered part of the offense or

 relevant conduct.

        Moreover, as a brief reminder, the evidence is undisputed that Mr. Ng never paid a bribe.

 At no time did Mr. Ng give so much as a dime, directly or indirectly, to anyone as a bribe, a gift,

 a gratuity or a tip. So, the question is only what Mr. Ng knew about what other people planned to

 do or what they had done. The answer to that question is that there is no proof he knew of any

 bribe amounts.



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         In sum, there is no factual showing by a preponderance of the credible evidence that Mr.

 Ng knew the amount of the bribes. He plainly did not. As a result, Mr. Ng cannot be held

 responsible, for purposes of a sentencing calculation, for the total amount of the bribes paid in this

 case.

         Instead, the proper calculation under § 2B1.1 is that of the “gain” that was derived,

 according to the verdict, by Mr. Ng. This is because the amount of “loss” cannot be reasonably

 determined as to Mr. Ng. See U.S.S.G. § 2B1.1, application note 3.B. This “gain” was

 approximately $35 million, which corresponds to a 22-level increase. See U.S.S.G. §

 2B1.1(b)(1)(L).

                4. Obstruction of Justice

         We object to the two-level enhancement for obstruction of justice on the grounds presented

 in the PSR. (PSR ¶ 77, 83; 103; Ng Objections to the PSR at 14.) The relevant Sentencing

 Guideline Section 3C1.1 applies, “if one, the defendant willfully obstructed or impeded or

 attempted to obstruct or impede the administration of justice with respect to the investigation of

 the instant offense of conviction, and two, the obstructive conduct related to the defendant’s

 offense of conviction and any relevant conduct or closely related offense.” The guidelines also

 explain the “obstructive conduct that occurred prior to the start of the investigation of the instant

 offense may be covered if the conduct was purposely calculated and likely to thwart the

 investigation or prosecution of the offense of conviction.” U.S.S.G. § 3C1.1, Comment Note 1.

 The record before the Court did not show the relationship, if any, between the deletion of the email

 accounts between February and March 2015 (prior to any FBI investigation) and the offenses of

 conviction. There is also no basis to conclude that the deletion of the email accounts were

 purposefully calculated or likely to thwart the investigation of the instant offences of conviction.

 Moreover, there is no evidence whatsoever that the closing of the corporation was purposely

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 calculated and likely to thwart the investigation or prosecution of the offense. The money from

 these accounts were simply transferred to an account in Ms. Tan’s personal name, who was the

 original beneficiary of the corporation. Ms. Lim testified that she did not want to pay for “hold

 mail” anymore and that the historical documentation of the corporation remained available with

 the secretarial company and the bank. (Tr. 5016-17.)

                5. Minimal Role

        We argue that given the scope of the offense, the fact that Mr. Ng did not pay any bribes,

 was only tangentially involved in Project Maximus, was not at all involved in Project Catalyze,

 was not told to whom Leissner was paying bribes and kickbacks nor the amounts, that Mr. Ng and

 Low did not speak after 2012, that Mr. Ng was never invited to many of the critical meetings

 between the co-conspirators, that Mr. Ng played a minimal role in this massive bribery scheme

 and should receive a four-level downward adjustment. (See Ng Objections to the PSR at 14-15.)

        It is for precisely cases like Mr. Ng’s that Guidelines Section 3B1.2 provides for

 “mitigating role” adjustments to a defendant's offense level “[b]ased on the defendant’s role in the

 offense.” U.S.S.G. § 3B1.2. Whether a defendant should receive such an adjustment depends on

 “the defendant’s relative culpability [with] reference to his or her co-participants in the case at

 hand.” United States v. Alston, 899 F.3d 135, 149 (2d Cir. 2018) (quotation marks and emphasis

 omitted). The Guidelines specify five “non-exhaustive ... factors” a “court should consider” in

 determining a defendant’s relative culpability:

        (i) the degree to which the defendant understood the scope and structure of the
        criminal activity; (ii) the degree to which the defendant participated in planning or
        organizing the criminal activity; (iii) the degree to which the defendant exercised
        decision-making authority or influenced the exercise of decision-making authority;
        (iv) the nature and extent of the defendant's participation in the commission of the
        criminal activity, including the acts the defendant performed and the responsibility
        and discretion the defendant had in performing those acts; (v) the degree to which
        the defendant stood to benefit from the criminal activity.


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 U.S.S.G. § 3B1.2 application note 3(C). The Guidelines also provide that even “a defendant [who]

 performs an essential or indispensable role in the criminal activity ... may receive a[ ] [mitigating

 role] adjustment.” Id. See United States v. Wynn, 37 F.4th 63, 67-68 (2d Cir. 2022).

        Thus, to determine whether a defendant qualifies for a mitigating role adjustment under

 U.S.S.G. § 3B1.2, the sentencing court must assess the relative culpability of the defendant

 compared to participants in the overall criminal activity in which the defendant was involved. See,

 e.g., United States v. Isaza–Zapata, 148 F.3d 236, 237–38 (3d Cir. 1998). Where a district court

 does not perform the required comparative analysis, Courts of Appeal generally remand for

 resentencing. See id. To be clear, a defendant’s role with respect to his co-conspirators, while

 important for the § 3B1.2 analysis, cannot form the sole basis for the Court’s finding of a minimal

 (or minor) role. See United States v. Rahman, 189 F.3d 88, 159 (2d Cir.1999) (“[a] reduction

 [pursuant to U.S.S.G. § 3B1.2] will not be available simply because the defendant played a lesser

 role than his co-conspirators; to be eligible for a reduction, the defendant's conduct must be ‘minor’

 or ‘minimal’ as compared to the average participant in such a crime.”); United States v. Neils, 156

 F.3d 382, 383 (2d Cir.1998) (“Under U.S.S.G. § 3B1.2, the district court is required to gauge the

 appellant’s culpability relative to the elements of the offense of conviction as well as in relation to

 the co-conspirators.”). We contend that whether looking at Mr. Ng’s co-conspirators or at his role

 in the offense based on an average participant, Mr. Ng was minimally culpable.

        The core of the Government’s proof as to Mr. Ng’s role was that Mr. Ng brought Low into

 the bank, attended three meetings with Low during Project Magnolia and received $35 million of

 1MDB proceeds from 2012 through 2013. We aim to show the Court that in the context of the

 entire 1MDB scheme, Mr. Ng’s role was minimal both when compared to his alleged co-

 conspirators and the average participant in a crime of this scope. See U.S.S.G. § 3B1.2.



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        First, the Government will argue that Mr. Ng played a critical role because he was central

 to bringing Low into the bank beginning in 2009 “establishing the relationship between Low and

 Goldman and cultivating it in the years preceding the bond deals.” (ECF 223, Government

 Objections to PSR at 14.) This argument disregards that toward the end of 2008, Leissner and Mr.

 Ng received an internal Goldman email that the State of Terengganu (one of the several States

 comprising Malaysia) was starting a sovereign wealth fund called the Terengganu Investment

 Fund or TIA, and that Leissner and Mr. Ng, as members of Goldman’s investment banking

 division, should chase down this potential business opportunity. (Tr. at 1403-04.) Because Low

 was the advisor to the Sultan of Terengganu (the highest executive officer of the State) and

 therefore a key person in the creation of TIA, Mr. Ng developed a relationship with Low.

        Mr. Ng’s relationship with Low was not a secret and was disclosed to the bank. At all times

 while Mr. Ng was employed by IBD, Mr. Ng properly included the meeting in the Goldman

 calendar every time he met with Low. At all times when Mr. Ng met with Low or one of Low’s

 associates and sought reimbursement from Goldman, Mr. Ng properly included Low or Low’s

 company on the expense report. (See generally, GX-77, 1002-1100.) This was a requirement of

 IBD, and Mr. Ng complied. This was for two reasons. First, keeping track of meetings and contacts

 outside of the office was required by the IBD, and Mr. Ng complied with these requirements.

 Second, Goldman instructed Mr. Ng to chase down the TIA opportunity and Mr. Ng did so, and

 kept Goldman apprised of his meetings with Low in furtherance of his duties. Unlike Leissner,

 Mr. Ng never lied about meeting with Low; he never neglected to include such a meeting when




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 required to do so,3 he never falsely said he was meeting with someone else when he was meeting

 with Low. Every time he met with Low and he was required to note the meeting, Mr. Ng did so.

        Although Mr. Ng faithfully did his job as a Goldman employee in pursuing the TIA

 business opportunity, Mr. Ng nonetheless accurately and truthfully shared negative information

 about Low to his Goldman superiors, including the highest levels of compliance, when asked for

 his opinion on such matters. Though the Government’s Indictment claims that the conspiracies

 began in 2009, the trial evidence is that the illegal activity commenced in January 2012 with the

 start of Project Magnolia.

        Second, the Government will argue, as they have many times, that Mr. Ng “was a central

 player in $6.5 billion of bond transactions…and knew that these massive transactions would be

 the source of the bribe payments. (ECF 223 at 14.) Mr. Ng, who was never a partner at Goldman

 and lacked meaningful authority, was the only Goldman employee, aside from Leissner, charged

 by the U.S. Department of Justice, the evidence is that he did almost nothing to advance any bribery

 scheme.

        At the time of Project Magnolia, when TIA had turned into 1MDB, Mr. Ng had already

 transferred from IBD to Securities two years earlier. He was no longer on the client side of the

 bank, but still covered Malaysia for his new securities sales role. (Tr. at 85-86.) He was in a bicycle

 accident on December 26, 2011, and was not working in the early part of January 2012. (Tr. at 230

 (Tai testifying he remembered the bike accident, but does not remember if Mr. Ng was out); (Tr.

 at 1549) (Leissner testifying he remembered Mr. Ng’s bike accident).) Leissner, alone, started




 3
  Unlike the IBD, Securities did not require its personnel to indicate with whom they were meeting.
 Therefore, once Mr. Ng moved from IBD to Securities, he stopped informing Goldman of his out-
 of-office meetings, consistent with Goldman policy.

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 putting together the deal with Ananda Krishnan—first meeting with Shahrol Halmi, the CEO of

 1MDB on January 12, 2012 (DX-2103), then meeting with Ananda Krishnan (DX-2102), then

 meeting with Nazir Razak (Najib Razak’s brother) (DX-2103) and finally meeting with Jho Low

 alone on January 18, 2012 (DX-2104). It is significant that Mr. Ng was not a part of these meetings.

        The Government will surely argue that Mr. Ng was in attendance for key meetings

 beginning in February during Project Magnolia where the bribery scheme was discussed. The

 Government has argued these meetings are the February meeting in London at Low’s apartment,

 the March meeting in Abu Dhabi, the March meeting in Los Angeles at L’Ermitage, and the April

 meeting in Singapore.

        The London Meeting. There is no credible evidence the participants at this meeting

 discussed that proceeds of the bond deals would be used to discuss bribes, because Leissner’s

 recitation of this meeting changed so drastically during the course of his cooperation. First,

 Leissner did not mention the international world leader bribery chart in his meetings with the

 Government until April 29, 2021, almost three full years after he first started cooperating. (See Tr.

 at 1633-34.) Second, Leissner cannot keep straight who is at the meeting. He testified Nik Faisal

 was present; but we know that is wrong. Rather, it appears Terrence Geh was present even though

 Leissner says he was not. (See Ng Objections to PSR at 9.) Leissner even went so far as to testify

 as to the many things Nik Faisal did during this meeting. (See id. at 8-9.) Third, Leissner’s

 testimony was rendered impossible by the undisputed travel records. Leissner testified on direct

 that following the bribery meeting in Low’s apartment, he and Mr. Ng went on walk through

 London; they went to dinner and back to Leissner’s hotel room, all the while allegedly reflecting

 on how lucky they each were to be able to participate in Low’s massive, lucrative bribery plot.

 (See Tr. at 456.) However, the travel records show that Leissner and Mr. Ng stayed at different



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 hotels, with Leissner staying at the Four Seasons Hotel in London Park Lane (GX 1349-A-03) and

 Mr. Ng staying two miles away at the Waldorf Hilton (GX-1107-A-03). Mr. Ng checked out of

 his hotel at 6:17pm (Tr. at 2683) and departed London Heathrow at 10:05p.m. (Tr. at 2685).

 Leissner’s travel records show that he took a taxi from 6:45p.m. to 7:34p.m. (GX- 1349-A at 87;

 Tr. at 3369-71) and flew out of London Heathrow that night on an 8:45p.m. flight (Tr. at 1644,

 2687). Leissner’s detailed story of the post-bribe meeting aimless walk around London was a bald-

 faced lie, proven so by documents. (See also Ng Objections to PSR at 9-10.)

        The Abu Dhabi Meeting. Leissner testified that around March 4, 2012, Low handed

 Leissner a letter from the Malaysian Prime Minister that Leissner was to hand-deliver to Sheikh

 Mansour. (Tr. at 903-04.) According to Leissner, Mr. Ng and Andrea Vella were idly present when

 this hand-off took place. As with the February 2012 meeting, featuring the international world

 leader bribery chart, the Court is asked to not credit this preposterous account, and accordingly

 reduce his guidelines by four points for his minimal role.

        For example, only two days after Leissner claimed the meeting happened in Abu Dhabi,

 Leissner returned to Abu Dhabi by himself. (GX-1352-A-06.) Between the March 4 th meeting and

 the March 8th trip, Low emailed this letter to Mohammed al-Husseiny. (GX-2252.) He instructed

 al-Husseiny “Please do not reply to this e-mail. Please provide name and contact via BBM or

 delivery person.” (Id.) One day later, Leissner traveled to Abu Dhabi. Even the Government

 walked back Leissner’s during summation, saying “We also see Tim Leissner, he was just in Abu

 Dhabi, he’s going back to Abu Dhabi a few days later to make sure this letter gets delivered.” (Tr.

 at 5246.) This is yet another example of Leissner lying about Mr. Ng’s involvement in order to

 fabricate Mr. Ng’s role. Therefore, because Leissner was not even in possession of the “letter”




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 during the March 4th meeting where he claimed Mr. Ng was present for the hand-off of the letter,

 his testimony on this point should not be credited.

        The evidence also suggests that Low and/or Leissner drafted the letter from the Prime

 Minister as well as the return letter from Sheikh Mansour. They are forgeries. 4 The letters were

 forged by Low and/or Leissner specifically to fool the compliance divisions within Goldman into

 believing that the two world leaders themselves wrote the letters and were firmly behind the deal,

 making its success all but assured.

        The April 4, 2012, Capital Committee Meeting. The Government will argue that Mr. Ng

 played a critical role because he worked to “get Goldman Sachs’ approval without revealing the

 massive bribes.” (ECF 223 at 14.) Part of the Government’s evidence in this regard is the Goldman

 Sachs Capital Committee Meeting from April 4, 2012. It was during this meeting that Leissner,

 participating by telephone, lied to Stephen O’Flaherty. There is no question that Leissner lied.

 Leissner admitted he lied (for whatever that is worth). O’Flaherty testified that in fact he continued

 to believe what Leissner said was true even though the trial evidence conclusively proved Leissner

 was lying. The pertinent issue for the trial and now for sentencing of Mr. Ng, however, is whether

 Mr. Ng heard Leissner’s lie, knew Leissner was lying and said nothing to correct the lie told by

 Leissner.




 4
   The Government has remained silent on this issue. If the defense is correct and the letters were
 drafted by Leissner or Low, the Government should say so. Not only has there now been a
 conviction based, in part, on this information, but this matter is proceeding to sentencing based, in
 part, on Leissner’s testimony on this point. If, on the other hand, the Government has concluded,
 based on some modicum of investigation, that the letters are not forgeries, it should share the
 results of that investigation. Silence, under these circumstances, is not a responsible position for
 the Justice Department to take.

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        O’Flaherty testified that he asked Leissner about why Leissner was present at the meeting

 with Sheikh Mansour and further what role Low as playing at the meeting. O’Flaherty testified

 that when he asked Leissner this question that Leissner was irritated. O’Flaherty testified that

 Leissner said Low was not present at the meeting, and that Leissner said that Low had come to

 Abu Dhabi with a letter from the Prime Minister of Malaysia Razak, which he handed to Leissner

 but was not present at the meeting that then followed with Sheikh Mansour. Mr. Ng would have

 no idea whether Leissner was giving a truthful or untruthful answer to O’Flaherty’s question, just

 as O’Flaherty had no idea.

        Leissner admitted that he lied to O’Flaherty when he told O’Flaherty and others at

 Goldman that Leissner himself hand-delivered the letter from the Malaysian Prime Minister

 directly to Sheikh Mansour. Moreover, Leissner testified that he told this lie to O’Flaherty and

 others specifically so that Goldman would continue to work on the bond deal.

        Not only did Leissner lie to O’Flaherty about delivering the Prime Minister’s letter to

 Sheikh Mansour, he lied to the Government and to the jury as well. He told the Government both

 that he gave the letter to Sheikh Mansour, as he had previously falsely told Goldman, and that he

 had given the letter to Khadem al-Qubaisi, which is the lie he repeated to the jury. 5 He also falsely

 told the jury that Mr. Ng was present when Low gave Leissner the letter. Considering that the

 travel records indicate that Mr. Ng travelled to Abu Dhabi on March 4, 2012, and April 10, 2012,

 this event would have been in connection with one of these two trips. However, as stated, on March

 7, 2012, there is an email from Low to al-Husseiny asking that al-Husseiny provide Low by BBM



 5
   Leissner told the jury that al-Husseiny drove Leissner to al-Qubaisi’s home. He could not tell the
 jury anything about the car nor the front of al-Qubaisi’s home, nor the neighborhood he went to.
 Midway in his testimony, he supposed that perhaps Jasmine Loo, whom Leissner knows to be a
 fugitive, may have been there too. (Tr. at 1660-62.)

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 the name and contact number for the delivery person. This means that the letter would not have

 been delivered either in connection with the March 4 or April 10 trips to Abu Dhabi, and, more

 importantly, that it was not hand-delivered by Leissner at all, but by the “delivery person” referred

 to in Low’s email.

        On April 16, 2012, Leissner also traveled to Abu Dhabi, while Mr. Ng and Andy Tai were

 in Asia. Tai emailed Leissner that he heard people were going to Abu Dhabi to help on the deal,

 and he asked if Leissner wanted Mr. Ng and Mr. Tai to come to Abu Dhabi. Leissner responded,

 “no need Chief.” (DX-AT-23.) As a result, Mr. Ng and Mr. Tai did not go to Abu Dhabi.

 Nonetheless, Leissner included both Mr. Ng and Mr. Tai as being present.

        Singapore “Taste of Paradise” Meeting. The Government will argue that Mr. Ng’s presence

 at the meeting with BSI bankers in Singapore showed that he did not have a minimal role in the

 scheme. However, this Court heard from two witnesses about this meeting and those two witnesses

 had diametrically opposed testimony concerning what Leissner, as Goldman’s representative, did

 and said at this meeting. Swampillai testified that (i) Leissner did not make a presentation of facts;

 (ii) Leissner did not provide documents or charts; (iii) Leissner did not talk about the structure of

 the bond deal; (iv) that there was no mention of Goldman underwriting the bond deal; and (v) there

 was no mention of the guarantee or how a guarantee would be structured. (Tr. at 3269-70.)

 Leissner, on the other hand, testified that:

        Roger and I went into that lunch. We went through this structure of Magnolia,
        described our underwriting effort, the structure of the underwriting including the
        guarantee, and highlighted as Jho had requested that Goldman Sachs was doing the
        underwriting and that we were comfortable with this transaction which is why we
        were ready to do that underwriting.

 (Tr. at 946.) We ask the Court to credit Mr. Swampillai’s testimony as to the meeting.




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        Project Maximus and Project Catalyze. The Government will argue that Mr. Ng was an

 active member of the deal team on Project Maximus and critical to selling the bonds in Project

 Catalyze. Though the Government submitted evidence that Mr. Ng traveled to London and Abu

 Dhabi on Project Magnolia (compared to Leissner’s dozens of meetings and trips to foreign

 countries to close the deal), there was a dearth of evidence as to Mr. Ng’s involvement in either

 Project Maximus or Project Catalyze. As to Project Maximus, the Government introduced one

 piece of evidence through deal team member, Andy Tai, that Mr. Ng attended the closing dinner

 in Hong Kong on November 12, 2012, shortly after Project Maximus closed. (Tr. at 181.) Mr. Ng

 did not organize the event. As for Project Catalyze, the Government introduced one exhibit related

 to his role in selling bonds while he was in the Securities Division. (See GX-2469.) There is no

 dispute that Mr. Ng was never “wall-crossed” onto the Project Catalyze deal team.

        To the contrary with Leissner. On Project Maximus and Project Catalyze, Leissner was

 traveling to Abu Dhabi, London, France, Hong Kong, Las Vegas and other places frequently to

 secure the business for Goldman and meet with Low, and Mr. Ng was not present. For example,

 at the time Project Maximus was closing, Leissner met with Low and Vella and specifically

 instructed Vella to not tell Roger they had met, even though Mr. Ng was in the same city. (GX-

 2445.) On Project Catalyze, Leissner and others at Goldman met with Low, Najib Razak, Jasmine

 Loo and others at Time Warner Center in New York. (DX-2623.) Though Mr. Ng was in New

 York at the time, Leissner instructed his assistant that Mr. Ng will not be joining the meeting and

 Leissner would “handle him away from the meeting.” (Id.)

        Though the Government has argued that Mr. Ng “travelled with Low on lavish trips across

 the world” (ECF 223 at 4), it is also undisputed that once the criminal conduct with the 1MDB

 bond deals began, Mr. Ng never travelled with Low. In contrast, Leissner admitted to several trips



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 with Low. In November 2012, Leissner traveled to Low’s lavish and multi-million dollar birthday

 party in Las Vegas, to which Mr. Ng was not even invited. Leissner even used Low’s agent to

 charter yachts for hundreds of thousands of dollars. In 2013, Leissner met Low on his yacht in the

 South of France. Mr. Ng was not invited, nor was he present.

        Even after Goldman realized hundreds of millions of dollars in world-wide corporate

 profits from the 1MDB transactions, Mr. Ng continued his quiet existence at the bank for another

 few years before leaving of his own volition to start a family. In that time, he was never once

 promoted, nor was he recognized for playing any meaningful role in the bond deals.

        To the contrary, Mr. Ng’s lack of a meaningful role in the three tremendously lucrative

 bond deals was not lost on his employer. Whereas Leissner was promoted, touted and

 congratulated by the leaders of the bank for his central role in securing the bond deals for Goldman,

 Mr. Ng received the opposite reception from his “co-conspirators” and colleagues at Goldman.

 Though not evidence at the trial, there was a tremendous amount of discovery that Goldman

 produced to the Government showing the Goldman “co-conspirators” did not think Mr. Ng was a

 valuable member of the team on Magnolia, Maximus or Catalyze:

           As Project Magnolia was closing in May of 2012, Toby Watson emailed a Goldman
            Sachs superior about deal team member Jonathan Donne stating, “[w]e finally got the
            IPIC signature pages as the CEO went off to the South of France on Friday night and
            so his lawyers couldn't get hold of him to release the signed pages on Friday night! Jon
            Donne has done another great job on this deal. He really took over as Tim Leissner’s
            number two with the client as Roger Ng went awol and drove all the documentation
            process….” (GS-1MDB- 00726818);

           After Project Catalyze, Toby Watson, Jonathan Donne, and Dexter D’Souza were on a
            recorded line where Mr. Watson complained that Roger was not doing any work on
            sales for Project Catalyze (GS-1MDB-AU-00001528);

           Over several phone calls after Project Catalyze, Mr. Watson was pushing Mr. Ng to
            sell Catalyze bonds and Mr. Ng deferred to Mr. Leissner (GS-1MDB-AU-00001537,
            GS-1MDB-AU-00001540);



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           On a recorded phone call between Toby Watson and Andrea Vella, Mr. Vella stated
            that Roger was “brain dead” and Mr. Watson stated that Mr. Ng was not prioritizing
            the trading book at Goldman Sachs by not selling down the Project Catalyze position
            (GS-1MDB-AU-00001583).

        The above documentation is contrary to the Government’s position and demonstrates that

 even within Goldman, Mr. Ng’s role in the offense was minimal, and the only claim to the contrary

 was provided by Tim Leissner, who was patently incredible.

        The three people charged in the United States are Mr. Ng, Low and Leissner. Evidence at

 trial established that Low was one of the master fraudsters of our time. The evidence showed that

 Low received – personally – more than a billion dollars. His spending was prodigious, almost

 unbelievable – he spent $7 million in a single night on a party for himself. He sponsored the

 purchases of $40,000 handbags. He financed the production of major Hollywood pictures. The

 government spent a good deal of time at trial proving up all of this spending (none of which was

 done by Mr. Ng) and showed that Low was truly a larger than life fraudster. He was also the

 undisputed mastermind of the 1MDB conspiracy. Evidence at trial established that Low was

 involved in every single transaction that made up this scheme and directed the activities of dozens

 of other people in furtherance of the conspiracy. Unquestionably, Low was at the top of the

 pyramid.

        Also, without question, Low’s number one deputy in executing this scheme was Tim

 Leissner. Leissner, the Chairman of Southeast Asia for Goldman Sachs, a participating managing

 partner and member of the partnership committee of the firm, was utterly corrupted by Low. In his

 role in the scheme, he interacted directly with heads of state and government ministers throughout

 the entire conspiracy and received payments from every bond deal and loan 1MDB participated

 in. Aside from the bond deals themselves, he also engaged in hundreds of millions more of illegal

 transactions to launder Low’s money, and was not required to plea guilty to this conduct. (See Tr.


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 at 2291 (detailing a €145 million transfer from a Low-directed entity to a Leissner-controlled

 entity).) He agreed to cooperate with the government, did not step foot in jail (his first night in

 custody was spent in a hotel), lied to the government in dozens of meetings with them and was not

 required to plead guilty to this conduct. He was released on bail using shares of Celsius that he

 stole from Mr. Ng and returned to his $30 million Beverly Hills home he bought using money

 laundered for Low. The only money he has forfeited are shares that include ones that belong to

 Mr. Ng. A sampling of his conduct in the scheme is recited below:

           He lied to Stephen O’Flaherty, head of the Business Intelligence Group (“BIG”) at
            Goldman Sachs about having a meeting with Sheikh Mansour, a fact that was then used
            in the Capital Committee Meeting memo used to approve Project Magnolia. (See Tr.
            at 3109-3110); Mr. Ng did not speak to any higher-up at Goldman, nor did they know
            who he was;

           He paid bribes and kickbacks to several individuals on behalf of Low; Mr. Ng did not
            pay a single bribe or kickback;

           He met with other members of the conspiracy such as Jasmine Loo and Mohammed al-
            Husseiny all over the world, including Abu Dhabi, Dubai, Hong Kong, New York,
            London; Though Mr. Ng was friends with Jasmine Loo, there is no evidence that he
            met with al-Husseiny or Khadem al-Qubaisi;

           He was paid $28 million from Genting—the same company that 1MDB purchased
            power assets from in Project Maximus—and paid $14 million of that money out to the
            son of the founder of Genting, Lim Chee Wah (Tr. 2017-20);

           He “washed” money through Capital Place Holdings, a bank account he controlled, for
            Mohammed al-Husseiny through Solution Century Limited, an account in the name of
            Husseiny’s wife. Specifically, on June 4, 2013, Solution Century Limited transferred
            $9.5 million to Capital Place Holdings and two months later Capital Place Holdings
            transferred $8.5 million back to Solution Century Limited. (Tr. at 4453-54.) Capital
            Place Holdings kept $1 million;

           He met with Prime Minister Najib Razak several times, including in the Prime
            Minister’s office, home and on a yacht in Nice during the period of the three bond
            deals; Ng never met with Najib after he moved to the Securities Division in late 2010.

           In June 2012, after Project Magnolia closed, Leissner started several deals where Low
            was either directly involved or working behind the scenes, such as Project Friendship,
            Project Midori, Project X-Men, a project where 1MDB would try to raise $2 billion
            from a guarantee with the Japanese bank JBIG, a project where Jynwel would purchase

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            La Perla fashion company, and Project Condor; Mr. Ng was not involved in these
            transactions;

           He continued to engage in a criminal scheme with Low after the Goldman bond deals
            (See Tr. at 2291 (detailing a €145 million transfer from a Low-directed entity to a
            Leissner-controlled entity); Tr. at 2970-78 (detailing at least $50 million in transfers
            from Low-related entities to Leissner-controlled entities).) He lied to agents about these
            transactions and the fact that he had ongoing business with Low. 6

           One month before he was arrested in the U.S., Leissner traveled to Lichtenstein with
            his wife, Kimora Lee Simmons, to take advantage of bank secrecy and put his ill-gotten
            gains in a trust (Tr. at 2304-2306); One month before Mr. Ng was detained in Malaysia
            on the U.S. indictment, his family surrendered their assets to Malaysia and Singapore.
            Mr. Ng never fled Malaysia.

           One month before he was arrested in the U.S., Leissner tried to renew his Brazilian
            passport so he could travel to Brazil with his children’s nanny who he was having an
            affair with (Tr. at 1335-37). He told her “Brazil is the right place” for him; One month
            before Mr. Ng was detained in Malaysia, he was at home with his wife and child.

        Since we are arguing that Mr. Ng played a minimal role, the Court is required to compare

 Mr. Ng’s conduct with the other two people charged in this matter. As the Second Circuit said,

 “the culpability of a defendant . . . must depend necessarily on such factors as the nature of the

 defendant’s relationship to other participants, the importance of the defendant’s actions to the

 success of the venture, and the defendant’s awareness of the nature and scope of the criminal

 enterprise.” United States v. Garcia, 920 F.2d 153 (2d Cir. 1990). Here, a comparison of Roger Ng

 to his co-conspirators shows that he was by far the least culpable. This is true even if one takes the

 Government’s view of the evidence presented at trial.

        First, “the degree to which the defendant understood the scope and structure of the criminal

 activity.” U.S.S.G. § 3B1.2 application note 3(C)(1). The uncontroverted evidence at trial



 6
   Attached as Exhibit 17 are the recordings that Leissner made with Low following Leissner’s
 arrest. At minute 17, Low asked Leissner, “Do you have an update on, um, all the other things?”
 Leissner responded, “No, I have no other update.” He met with the agents after this recorded call
 and did not disclose his ongoing scheme with Low.

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 demonstrates that Mr. Ng had no interaction whatsoever with numerous other people who were

 characterized by the government as co-conspirators. He had no concept of how Low had pulled

 various parts of the conspiracy together. Second, “the degree to which the defendant participated

 in planning or organizing the criminal activity.” U.S.S.G. § 3B1.2 application note 3(C)(2). Again,

 even under the Government’s construction of the facts, Mr. Ng did not devise any part of this

 scheme; he did not make decisions about the use of any other people as part of the scheme; he did

 not supervise anyone else in the conspiracy. Third, “the degree to which the defendant exercised

 decision-making authority or influenced the exercise of decision-making authority.” U.S.S.G. §

 3B1.2 application note 3(C)(3). Fourth, “the nature and extent of the defendant’s participation in

 the commission of the criminal activity, including the acts the defendant performed and the

 responsibility and discretion the defendant had in performing those acts.” U.S.S.G. § 3B1.2

 application note 3(C)(4). The government itself must concede that Mr. Ng had nothing to do with

 two of the three bond deals mentioned in the Indictment. Moreover, the evidence developed at trial

 showed that Low and Leissner conducted hundreds of millions of dollars of additional criminal

 conduct that took place after Mr. Ng unquestionably had nothing more to do with the conspiracy.

 Finally, "the degree to which the defendant stood to benefit from the criminal activity.” U.S.S.G.

 § 3B1.2 application note 3(C)(5). When put next to Low and Leissner, even the money the

 government claims Mr. Ng received pales in comparison.

        This is also true when looking at the average participant in an FCPA or a money laundering

 conspiracy. Such an average participant would be more involved in understanding the scope of the

 criminal activity needed to execute a bribe scheme of this size. An average participant would be

 involved in more parts of the conspiracy than Mr. Ng was. An average participant would direct

 others, or at least direct certain parts of transactions, in ways that Mr. Ng did not. And an average



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 participant in a $6 billion fraud would make out with more than half of a single percentage point

 of the deal.

                6. Total Offense Level

         Based on the calculation encouraged by the defendant, the adjusted offense level would be

 a total of 30 for each of Count One and Count Three. For Count One, this is derived from a base

 offense level of 12, an increase based on gain of 22 levels, and a decrease of 4 levels for minimal

 role. We object to the 30-level upward loss adjustment, the 2-level upward adjustment for more

 than one bribe paid, and the 2 level upward adjustment for obstructing justice. We also object to

 the failure of the Probation Department to recognize that a 30-level upward adjustment

 significantly overstates Mr. Ng’s criminal activity.

         For Count Three, the level 30 is derived from a base offense level of 8, an increase of 22

 levels based on laundered funds of $35 million (§ 2S1.1(a)(2)), an increase of 2 levels for a

 conviction under 18 U.S.C. § 1956 (§ 2S1.1(b)(2)(B)), an increase of two levels for sophisticated

 laundering (§ 2S1.1(b)(3)), and a decrease of 4 levels for minimal role.

         We agree that Counts 1, 2, and 3 should all be grouped together. Under Sentencing

 Guideline Section 3D1.3(a), the most serious count is used, which in this case are Counts One and

 Three . Because all 3 counts are grouped together, there is no offense level increase based on the

 multiple counts. See U.S.S.G. § 3D1.4.

         Accordingly, the total offense level, as calculated under the Guidelines, would be 30 for

 either Count One or Count Three. Of course, we maintain the objections we set forth in this

 memorandum and in our objections to the PSR.

                7. A Substantial Departure From the Guidelines Is Permitted and Is Appropriate

         The Supreme Court and United States Court of Appeals for the Second Circuit have each

 made clear that the United States Sentencing Guidelines are merely the first step of a far more

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 involved, detailed and particularized sentencing analysis. United States v. Rita, 551 U.S. 338

 (2007); United States v. Kimbrough, 552 U.S. 85 (2007); United States v. Preacely, 628 F.3d 72,

 79 (2d Cir. 2010). In fact, trial judges “may vary (from the guidelines range) based solely on policy

 considerations, including disagreements with the Guidelines. Kimbrough, 552 U.S. at 101. Indeed,

 the trial judge is not expected to agree with the Guidelines or to even find them to be reasonable.

 “A district court may not presume that a Guidelines sentence is reasonable; it must instead conduct

 its own independent review of the sentencing factors…” United States v. Cavera, 550 F.3d 180,

 189 (2d Cir. 2008) (en banc). This Court not only has wide latitude to vary from the Guidelines

 based but may wholly disregard them if the Court does not believe they lead to a reasonable

 sentence.

        It hardly needs to be stated that a Guidelines sentence, as calculated in the PSR, would

 produce an absurd result here – a Level 53 would produce a Guidelines range of life imprisonment

 to life imprisonment. The only question for the Court to decide is how wrong the Guidelines are.

 A Level 30 provides a cogent, reasonable point of departure for Steps Two and Three of the

 sentencing process.

        B. The Factors Set Forth in 18 U.S.C. § 3553 as Applied in This Case Support A
           Time-Served Sentence

                1. Mr. Ng’s and His Family’s Cooperation With 1MDB Investigations in
                   Singapore and Malaysia

        Mr. Ng and his family’s cooperation with the Singapore and Malaysia governments

 demonstrate two factors relevant to this Court’s Section 3553(a) analysis. First, his cooperation

 shows Mr. Ng’s true character and his respect for the law. Second, in fashioning a sentence to

 provide just punishment for the offense, this Court should consider the loss of property and




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 restraint on liberty that Mr. Ng suffered as he cooperated with these two governmental

 investigations.

                    a. Mr. Ng Was Banned From Travelling Out of Singapore for Three Months

        As was reflected by the trial evidence, the Singapore government forced Mr. Ng to remain

 in Singapore for about three months. While Mr. Ng was not incarcerated during this time, he was

 forced against his will to remain in a foreign country, away from his home and family. His passport

 was taken from him and he was ordered by police officials to not leave Singapore for three months.

 The defense does not contend that this period should be formally counted against any period of

 incarceration imposed. However, we do argue that the compelled deprivation of Mr. Ng’s liberty

 by government officials in Singapore in connection with the 1MDB investigation should be

 considered by this Court as a Section 3553(a) factor in determining the appropriate sentence.

        The Singapore government officials prevented Mr. Ng from travelling out of the country

 solely so they could ask Mr. Ng questions about 1MDB, the role of BSI Bank and the funds

 entering accounts of his family that originated with 1MDB. These are all the same topics at the

 center of the U.S. trial. Indeed, the questions posed by the Singapore officials made Mr. Ng aware

 for the first time of the true origin of the $35 million. For 92 days, he answered every question

 asked of him by Singaporean law enforcement. Eventually, when Singapore permitted Mr. Ng to

 travel, he returned to Malaysia and also travelled to Hong Kong and Beijing related to his work

 with Celsius. Thereafter, Mr. Ng and his family stayed in Malaysia, where he and his family

 remained despite knowing that Malaysia was conducting a massive investigation into the 1MDB

 affair. It bears noting that despite Singapore’s thorough investigation, resulting in the prosecution

 of three BSI bankers, it never charged Mr. Ng with a crime.




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                    b. Mr. Ng’s In-Laws Paid the 1MDB Funds Back to Malaysia Prior to
                       Anyone Being Aware of the U.S. or Malaysian Charges

        The most comprehensive investigation into the 1MDB theft was conducted by the

 Government of Malaysia, which has brought six separate criminal cases related to 1MDB. By the

 Summer of 2018,7 it was widely known that the Malaysian government was investigating Najib

 Razak. As part of this investigation, the Commercial Crime Investigation Department (“CCID”)

 of the Royal Malaysian Police contacted Hwee Bin Lim in July 2018. Ms. Lim reported on more

 than ten occasions to the CCID office to answer questions about the money passing into accounts

 associated with her and her family. Despite the massive amount of information compiled by the

 Malaysian police, it never contacted Mr. Ng. However, the Malaysian government did ban Mr. Ng

 earlier and later members of his family from travel outside of Malaysia. It also froze several bank

 accounts belonging to Mr. Ng and his wife. Ultimately, and as discussed in more detail below, the

 Malaysian government reached an agreement with Mr. Ng’s wife, brother-in-law and mother-in-

 law that in exchange for Malaysia releasing all criminal sanctions and agreeing to not charge

 anyone in Mr. Ng’s family, the family members would surrender the full contents of several bank

 accounts in Singapore, including all funds derived from 1MDB and other funds unrelated to 1MDB

 to the Malaysian government.

        Indeed, among the events and circumstances showing the good character of Mr. Ng and his

 family, their demonstrated respect for the laws of Malaysia and the authority of its public officials




 7
  The Malaysian general election was held on May 9, 2018. Until that day, the Barisan Nasional
 coalition, Najib Razak’s party, had ruled Malaysia since the nation’s independence in 1957.
 However, during the 2018 election, the Pakatan Harapan coalition, together with a second party,
 won a majority of the votes, and the Barisan Nasional party was out of power. With Najib Razak’s
 party out of power, the Malaysian investigations into the theft and official corruption surrounding
 1MDB moved forward.

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 as well as the punishment they have already suffered, is that Mr. Ng’s family voluntarily and fully

 forfeited to Malaysian criminal authorities all 1MDB funds, as well as substantial additional funds

 not derived from 1MDB, prior to Mr. Ng being aware of the U.S. charges and prior to the filing of

 Malaysian charges. There are two overarching elements to these events that are relevant to Mr.

 Ng’s sentencing in this case. First, the family paid this money back prior to any criminal charges

 being brought. Second, the forfeiting of property derived from criminal activity as well as funds

 not derived from any criminal activity under these circumstances is itself a form of punishment,

 which should be taken into account when determining how much more Mr. Ng should be punished.

                    c. Mr. Ng’s Family Was Told It Was in Possession of 1MDB Funds And
                       Agreed to Pay the Money Back as Well as Substantial Additional Funds

        As she testified at the trial, the CCID of the Royal Malaysian Police contacted Ms. Lim in

 July 2018. Ms. Lim voluntarily appeared at the CCID offices on more than ten occasions, each

 time without a lawyer, between July and October 2018. She was questioned by then-Director of

 the CCID Tuan Amar Singh, as well as Tuan Rajagopal and Tuan Munaindy about the

 circumstances of how 1MDB funds had come into the possession of her and her family.

        The CCID officials explained to Ms. Lim that the $35 million that was transferred into

 various accounts in 2012 and 2013 were derived from money misappropriated from 1MDB. While

 Ms. Lim explained to the CCID – and as she testified to the jury – that the money paid by Judy

 Chan Leissner was the repayment of an investment in businesses in China, 8 neither Ms. Lim nor



 8
   As the Court will recall, the video tape Leissner and the FBI made on October 16, 2018, depicts
 Ms. Lim telling Leissner that she was being questioned by Malaysian authorities and that these
 authorities were asking her to provide proof as to the investment she claimed to have made with
 Judy Chan Leissner. As part of this conversation, Ms. Lim asked Leissner to prevail on Judy Chan
 Leissner to get a copy of the agreement between Judy Chan Leissner and Ms. Lim concerning the
 initial investment. As we know, Leissner, who was cooperating, did not do so. The result was that


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 anyone in her family disputed the CCID’s representations that much of the money in different

 accounts held by Ms. Lim, her mother and her brother were in fact derived from 1MDB, even

 though they did not know this other than being told by the CCID.

        CCID officials proposed an arrangement between the Attorneys General of Malaysia,

 Singapore and the Lim family. If the Lim family surrendered the money transferred from Judy

 Chan Leissner, which was still in the banks in Singapore, to the Government of Malaysia, the Lim

 family was assured that (1) the travel bans on Mr. Ng and the Lim family would be lifted, (2) all

 bank accounts would be unlocked, and (3) no criminal or civil actions would be levied against the

 Lim family or Mr. Ng.

        On October 30, 2018, three written Statutory Declarations were prepared. The first was

 signed by Ms. Lim. It provided that she would relinquish all claims to monies in three particular

 accounts that she controlled in two separate banks: OCBC and Nomura that, again, Malaysian

 authorities concluded contained 1MDB funds. (See Ex. 1 at 1.)

        The second was signed by Lim Chee Khang, Mr. Ng’s brother-in-law. (See Ex. 1 at 4.) It

 provided that Lim Chee Khang would relinquish all claims to monies in a particular account that

 he controlled in a bank called UOB that the Malaysian authorities concluded contained money

 derived from 1MDB.

        The third was signed by Tan Kim Kuan, Mr. Ng’s mother-in-law. (See Ex. 1 at 6.) It

 provided that she would relinquish all claims to monies in seven accounts in three different banks




 Mr. Ng proceeded to trial without the written agreement, which remains in China. This video is
 attached (in two parts) as Exhibit 18. (Though we provided it to the Court when we filed the motion
 in limine to admit the video (ECF 132), we had not formally made it part of the record. We now
 formally make it part of the record.)

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 that she controlled or of which she was a beneficial owner that Malaysian authorities concluded

 contained 1MDB funds. (See id.)

        The bank accounts corresponding to these three declarations contained funds traceable to

 1MDB. However, the Nomura accounts alone contained 499,500 shares of Celsius stock, worth in

 excess of $50 million at present. This Nomura account also contained over $2 million of funds

 belonging to Mr. Ng and Ms. Lim and that were not derived from the Capital Place Holdings

 account. (See DX-401-1, showing Mr. Ng and Ms. Lim’s deposits into the River Blue account at

 Deutsche Bank, which were later transferred to River Blue’s bank account at Nomura.) The UBS

 account contained $1 million of funds belonging to his brother-in-law, which are unrelated to

 1MDB. Indeed, the three accounts contained the cumulative wealth and savings of the Lim family

 over the course of generations. When Mr. Ng’s wife, brother-in-law and mother-in-law agreed to

 sign the attached declarations and to give the full contents of each of these bank accounts to the

 Government of Malaysia, two objectives were being accomplished.

        First, the Malaysian authorities had proven to the family members that some of the monies

 in these accounts were indeed derived from 1MDB. Just as Mr. Ng’s counsel did not challenge

 this fact during the trial, the family members did not challenge it to the Malaysian authorities. So,

 the first objective was that the family agreed that 1MDB funds as well as other funds not derived

 from 1MDB would be forfeited to the Government of Malaysia.

        Second, the Malaysian authorities promised that in exchange for forfeiting the 1MDB funds

 as well as the funds not derived from 1MDB, neither Malaysia (the country from which the funds

 were misappropriated) nor Singapore (the country in which the bank accounts were present) would

 bring criminal charges against anyone, that travel bans would be lifted and that bank accounts

 would be unfrozen. To clarify, the focus of the inquiry was exclusively on the individuals holding



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 the different bank accounts. Mr. Ng was not a focus of the Malaysian investigation as of late

 October 2018. In terms of a U.S. investigation, Mr. Ng was told when he was in Singapore in 2017

 that the U.S. had an investigation, but he was never told he was a target of it.

        Even though the family members maintained that they were unaware of the true source of

 the funds, they agreed to relinquish the funds as a gesture of good faith toward their country and

 as a way of resolving all legal matters concerning the funds. The three declarations were signed

 by Mr. Ng’s wife, brother-in-law and mother-in-law on October 30, 2018. On October 31, 2018,

 they were hand-delivered to Tuan Rajagopal at the CCID office. Upon providing the three signed

 Statutory Declarations to Malaysian authorities, Mr. Ng and his family believed, as they had been

 assured, that the legal matters concerning 1MDB were behind them.

        The next day, November 1, 2018, the day of Mr. Ng’s and Ms. Lim’s wedding anniversary,

 Ms. Lim received a phone call from the CCID. A police official told her that her husband, Mr. Ng,

 was to report to the CCID office as soon possible. As directed, Mr. Ng reported to the CCID office

 and was arrested based on the U.S. charges contained in the first indictment in this case. He was

 brought before a court in Kuala Lumpur, Malaysia the next day and was detained on the U.S.

 Indictment.

                    d. These Events Show Mr. Ng’s and His Family’s Good Character and
                       Respect for the Laws of Malaysia

        In determining an appropriate sentence for Mr. Ng, there are two aspects to these events

 that are relevant. The first is that when Malaysian police officials told the family that the family

 was in possession of 1MDB funds, the family agreed to pay not only the money in their accounts

 derived from 1MDB but other funds prior to Mr. Ng being aware of any charges against him. This

 shows that Mr. Ng as well as his family readily accepted the Malaysian government’s

 representation that stolen 1MDB funds were in their accounts and that they were willing to fully


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 repay these monies, as well as substantial other monies. It is also significant that this decision to

 repay the money, as well as other monies, was made at a time when no charges had been filed

 against anyone. It is one thing for a charged defendant to offer repayment as a way of getting a

 lower sentence. It is quite another for an uncharged person to pay back money when he has not

 been charged or implicated in a crime, nor when such money has been specified in a charging

 document. Here, no one was charged with a crime and there was no formal factual statement that

 a certain sum of money would be subject to legal process. Nonetheless, the Ng family agreed to

 relinquish the totality of several bank accounts to the Government of Malaysia solely because

 Malaysia represented that stolen 1MDB monies had passed into their accounts.

                    e. The Court Should Consider This as A Form of Punishment Already
                       Imposed Upon Mr. Ng in Determining What Additional Punishment Is
                       Necessary

        The second relevant aspect is that these actions taken by the Government of Malaysia

 amount to a punishment of Mr. Ng and his in-laws which should be considered under Section

 3553(a) in determining how much more Mr. Ng should be punished. Where, as here, police

 officials forfeit the totality of several bank accounts, taking not only money derived from 1MDB

 but other untainted funds as well, and in exchange promise, among other things, that no criminal

 charges will be brought, this amounts to a punishment that in fairness should be considered as a

 Section 3553(a) factor.

        Had the Malaysian government limited the forfeiture to only the monies derived from

 1MDB, this would still have been an extraordinary act on the part of Mr. Ng’s extended family.

 The notion of paying restitution or forfeiture in full even prior to criminal charges being brought

 is extraordinary by any measure. However, his family did far more than this. It agreed also to




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 relinquish to the Malaysian Government millions of dollars that had nothing to do with 1MDB

 funds and that were in addition to money derived from 1MDB.

        What’s more, this arrangement was reached with Malaysian police officials as part of an

 agreement to resolve potential criminal liability and financial restrictions on the Ng family. Under

 these circumstances, this amounts to a clear criminal punishment exacted against Mr. Ng and his

 extended family.9

        Moreover, that Mr. Ng and his family were told that if they signed over the bank accounts,

 there would be no criminal charges and that the day after they did so, Mr. Ng was arrested on the

 U.S. Indictment is also a form of punishment this Court should consider. Malaysian authorities

 certainly knew about the U.S. Indictment and wanted to collect the 1MDB money, and as much

 other money as they could, before losing Mr. Ng to the Americans.

                2. Mr. Ng Waived Extradition at the Earliest Opportunity

        To fully appreciate the significance of Mr. Ng’s decision to waive extradition and agree to

 voluntarily come to the U.S., we must examine that decision in the context of what had happened

 over the previous several months. As discussed in the above section, it was agreed that Mr. Ng’s

 family would relinquish virtually all of their wealth, amassed over generations, to Malaysia in

 exchange for a promise that no charges would be brought. The signed Statutory Declarations were

 provided to Malaysian police officials on October 31, 2018. (See Ex. 1.) The very next day,

 November 1, 2018, Mr. Ng was arrested. Even the most forgiving of people would conclude that

 this is an unspeakable double-cross. Even the most forgiving of people would never trust any




 9
   The concept of punishment is derived from Supreme Court jurisprudence concerning the “double
 jeopardy” clause. The Supreme Court defines punishment. It goes without saying that the defense
 is not raising a double jeopardy argument in connection with the U.S. proceedings in light of the
 fact that Malaysia has already exacted a criminal punishment for the same conduct.

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 government again. However, Mr. Ng’s actions showed that he never lost trust in government or

 the rule of law. What’s more, he showed that he trusted the government of, and the rule of law in,

 a country not his own, specifically the United States.

        The undersigned was hired to represent Mr. Ng toward the end of December 2018. It was

 apparent that there were considerable challenges to Mr. Ng securing U.S. counsel on this matter.

 First, Mr. Ng was in a Malaysian jail with virtually no ability to communicate to the outside world,

 much less with lawyers in the U.S. Second, several U.S. lawyers were apparently conflicted from

 or unwilling to represent someone in a matter concerning Goldman. A third challenge, and one

 that will be discussed below, is that Mr. Ng became very ill with severe Leptospirosis and Malaria

 while in prison between November 18, 2018, and the end of December 2018. He was transferred

 to a hospital and remained in the hospital for about a week. When he was not in the hospital, he

 was in the prison infirmary. These three factors presented challenges with securing counsel.

        The undersigned flew to Kuala Lumpur on January 1, 2019, and arrived on January 3, 2019.

 Mr. Ng had a court appearance at the High Court in Kuala Lumpur on January 4, 2019, and the

 undersigned was permitted to meet with him in person for the first time in an ante room attached

 to the courtroom. Mr. Ng was still visibly ill. He was very skinny; his skin had a yellowish-greenish

 tint. The undersigned explained the U.S. Indictment, court procedures in the U.S., the potential

 timing of a U.S. trial (an estimate that was off by about three years due to the unforeseen Covid

 pandemic) and the fact that he could waive or not waive extradition, with a full description of the

 consequences of each option. Without getting into the details of any discussions, it was apparent

 that waiving extradition was a meaningful possibility.

        The undersigned returned to the U.S. and had extensive, detailed conversation with the

 U.S. prosecution team about the possibility of an extradition waiver. Because the prosecution team



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 consisted of AUSAs from the EDNY as well as trial lawyers from the Fraud Section and Anti-

 Money Laundering Section in Washington D.C., as well as layers of supervision in each of the

 three offices, reaching an agreement as to the terms of an extradition waiver took about five weeks

 (despite the parties working hard to resolve the issues). Once an agreement was in place, part of

 which involved a letter confirming that the U.S. Government would abide by the so-called “Rule

 of Specialty” even though Mr. Ng was waiving extradition, the undersigned flew back to Malaysia.

        Sungai Buloh Prison is a 45-minute drive north and west of downtown Kuala Lumpur. Mr.

 Ng’s Malaysian lawyer, Datuk Tan, and the undersigned were permitted to meet with Mr. Ng on

 February 14, 2019, but because of his continuing illness and a Tuberculosis outbreak in the prison,

 we met him in a segregated area. The undersigned read out loud from the letter from the Justice

 Department concerning his potential extradition, including that the provisions in the letter would

 expire if we did not waive extradition in open court the next day. Mr. Ng was informed by his

 counsel that as a Malaysian citizen, if he contested extradition, he could conceivably prevail,

 remain in Malaysia and never face U.S. charges. This was a possibility because the 1MDB matter

 was so important to the Malaysian government that it could choose to prosecute the case

 independent of the U.S. Alternatively, even if he ultimately did lose extradition, with all legal

 challenges and appeals, he could delay the extradition process for many years.

        Ultimately, Mr. Ng did what good men do. He decided it was best for his wife, his young

 daughter, his mother and for his wife’s parents for him to face the U.S. charges responsibly and

 promptly, and to try to get the matter behind him so he could return to his life, and to the people

 who love and need him in Malaysia. On the morning of February 15, 2019 (the evening of February

 14th in Brooklyn), Mr. Ng, represented by Datuk Tan, and in the presence of the undersigned,

 waived extradition in open court.



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        Despite waiving extradition on February 15, 2019, and requesting to be extradited within

 thirty days, the U.S. authorities picked up Mr. Ng and transport him to the U.S. on May 3, 2019,

 almost three months later. Mr. Ng was met by U.S. officials who traveled with him for another

 three days, arriving in New York on May 6, 2019. Pursuant to agreement, Mr. Ng was arraigned

 and placed on house arrest at an apartment we secured for him in Manhattan.

        Section 3553(a) discusses the character of the defendant and, separately, the need to

 promote respect for the law. Here, a man who has never been to the U.S., aside from several

 business trips, had such strength of character and respect for the U.S. legal system that he

 immediately waived extradition from his home country to come to the U.S. to face these charges.

 An additional reason behind the urgency and the prompt extradition waiver is that Mr. Ng had

 become very ill while in prison, as will be further described below.

                3. The Six Months That Mr. Ng Was in Sungai Buloh Prison Warrants A
                   Downward Departure Under U.S.S.G. § 5K2.0 And A Substantial Reduction
                   Under Section 3553(a)

        As noted, Mr. Ng was in a Malaysian jail that was unlike anything in the U.S. A “sentencing

 court may depart if the court finds ‘that there exists an aggravating or mitigating circumstance of

 a kind, or to a degree, not adequately taken into consideration by the Sentencing Commission in

 formulating the guidelines.’” United States v. Carty, 264 F.3d 191, 196 (2d Cir. 2001) quoting

 U.S.S.G. ¶ 5K2.0. Applied to a defendant’s pretrial prison conditions, the Second Circuit stated,

 “no evidence exists to show that the Sentencing Commission took the conditions of a pre-sentence

 detainee’s confinement into account in creating the Guidelines. Indeed, there is no indication that

 the Commission contemplated that federal presentence detainees would be kept in any detention

 facilities other than federal facilities.” Carty, 264 F.3d at 196; United States v. Francis, 129

 F.Supp.2d 612, 616 (S.D.N.Y. 2001). The Second Circuit continued, “we hold today that pre-



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 sentence confinement conditions may in appropriate cases be a permissible basis for downward

 departures.” Carty, 264 F.3d at 196. See also Francis, 129 F. Supp. 2d at 616; United States v.

 Sutton, 973 F. Supp. 488 (D.N.J. 1997)

         By virtue of the decision in Carty, the law in this Circuit, even before United States v.

 Booker, 543 U.S. 220 (2005), firmly established that pre-sentence confinement conditions,

 particularly in non-federal facilities, could give rise to a below-Guidelines sentence. In recent

 years, after Booker was decided, and focusing exclusively on Section 3553(a) factors, sentencing

 judges have relied heavily on harsh pretrial prison conditions in issuing drastically below-

 guidelines sentences. This has been true even with defendants convicted in large-scale white-collar

 cases with very high guidelines calculations. See United States v. Kaleil Isaza Tuzman, S.D.N.Y.,

 15 CR 536 (PGG). In Tuzman, the Court gave the defendant a time-served sentence in a large-

 scale fraud case where the Court calculated the Guidelines range to be 210-262 months. The drastic

 reduction was based, in large part, on the harsh prison conditions the defendant faced abroad before

 his being extradited to the U.S. In sentencing the defendant to time-served, the Court stated, “(i)n

 determining an appropriate sentence for Mr. Tuzman, I have given great weight to the suffering he

 endured in Colombia.” Tuzman, 15 CR 00536 (PGG), ECF 1216 Sentencing Tr. at 66. The Tuzman

 case is instructive.

         Roger Ng was held on the U.S. charges in a Malaysian prison facility that was far below

 any acceptable standard of human decency. Among other atrocities, his exposure to diseased rat

 urine and Malaria-carrying mosquitos caused him to become gravely ill, requiring significant

 medical intervention. He carries the physical and emotional scars of this inhumane treatment with

 him to this day, and will for the rest of his life. As Mr. Ng explains in his letter to the Court:

         Six months in the Malaysian prison had a devasting effect mentally and physically.
         Until today, I find myself reclusive socially as I continue to deal with this brutal


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         and distressing experience. The time without sunlight and in isolation made me lose
         my mind and become frightful. I am scared because I have been there before and I
         am scared to go back again. I suffered from chronic insomnia from this—a
         condition I never had before, despite constantly traveling for work. I experienced a
         feeling of hopelessness that I have not recovered from since. November 1st, 2018
         was the last day I had any friends or social interaction. Until today, my only social
         interactions are with my attorneys and my family, who I speak to over the phone. I
         have a fear of engaging with people—how do I engage with them? How do I speak
         with them? How can I feel safe in a stranger’s presence? I cannot.

 (Ex. 2 at 7.)

         Mr. Ng was in the Sungai Buloh prison for six months and two days commencing on

 November 2, 2018, and ending in the date he was picked up by U.S. officials, May 3, 2019. He

 was held in prison exclusively because of the U.S. charges. During this period, he was subjected

 to lengthy periods of pure isolation, diseased rats, Malaria-carrying mosquitos, and human waste.

 The lights of his 12 x 6 foot cement cell were on 24 hours a day. He tried his best to sleep on a

 cold, often wet cement floor. The cement floor had a hole into which he was to defecate and urinate.

 There was no toilet. There was no flushing mechanism to transport the human waste to some other

 location. There was no bed, no chair, no mattress. Rather, he slept directly on the cold, damp,

 often-soiled cement floor. For the first two weeks, he did not even have a blanket.

         This resulted in Mr. Ng contracting severe Leptospirosis and Malaria. As will be further

 discussed below, while being subjected to these conditions, Mr. Ng experienced for the first time

 in his life both visual and auditory hallucinations. In order to soothe itself from the painful,

 terrifying illnesses ravaging his body while isolated in a concrete cell amidst rats, mosquitos and

 often his own human waste, his mind left him, as he has explained it. The trauma of being in pain,

 helpless, alone and without hope caused him to psychologically leave the time and place that was

 causing so much emotional devastation. He describes having an out-of-body experience where

 “he” was no longer in the cell. Mr. Ng describes this in his letter to the Court:



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         Those first two weeks felt like a pressure chamber. I heard things that were not
         there; I saw things that did not exist; and I hallucinated. I would hear other inmates
         on the block scream for hours on end, until they fainted or fell asleep. The only way
         for me to survive was to go to a place in my brain that did not exist—essentially, I
         mentally left to another world.

 (Ex. 2 at 5.)

         He lost his ability to participate in social settings, he developed persistent insomnia and is

 still experiencing the debilitating physical effects of having these diseases ravage his body. This

 experience has changed him forever, regardless of his future. Moreover, it has also made him more

 vulnerable than he would be otherwise, and more so than a typical person, to future incarceration.

 For all of these reasons, which will be further developed, Mr. Ng’s experience at this prison,

 including the impact this inhuman treatment has had on his mental and physical well-being,

 justifies a sentence of time served.

         Mr. Ng’s cell was constantly infested with rats, which seemed to come through the hole

 in the cement floor. There was no escaping them. For the first two weeks, he was confined to his

 cell twenty-four hours a day, often for days on end, and his only companionship was an endless

 scourge of rats coming from this open sewage hole. Heavy rains are frequent in Malaysia, and this

 caused the human waste to rise up into his cell, along with rats, mosquitos and other vermin living

 in holes beneath the prison. Those two weeks, Mr. Ng slept on the bare, wet, cold cement floor,

 the same one that would be covered with fecal matter and urine when it rained. The floor was never

 cleaned and was always, at a minimum, damp. Often, it was far worse than that. It was only after

 two weeks that he was provided with a thin latex mattress and a blanket. Mr. Ng continued to

 remain in complete solitary confinement twenty-four hours a day with the exception that now once

 a week, he was permitted to leave his cell for one hour. But, even this one hour per week was taken

 away as a punishment for certain other inmates committing some perceived transgression.



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        When pressed by his counsel, Mr. Ng said that of all the conditions – the human waste, the

 rats, the mosquitos, the sleeping on a wet, cold cement floor, the fear of malaria, the fear of rat-

 born disease, the fear of being beaten by a guard or another inmate – the worst was isolation, even

 if only for a few weeks.

        As a result of the prison conditions, Mr. Ng’s health quickly began to suffer. He found he

 was losing consciousness and falling to the floor. He had severe diarrhea, stomach cramps and a

 fever. He asked the prison officials for medical care but in the beginning received none. He was

 told he likely had dysentery or food poisoning and that it would pass. But after more than two

 weeks of increasingly severe symptoms – vomiting, diarrhea, chills, cramps, fever and headache -

 he complained enough that the prison officials gave him a blood test. The blood test revealed that

 Ng suffered from Leptospirosis and Malaria. Mr. Ng almost certainly contracted Leptospirosis due

 to his being exposed to rat urine from the diseased rats in his chronically-damp, fecal-matter-

 covered prison cell. Malaria is a parasitic infection transmitted when a mosquito with plasmodium

 microorganisms in its saliva bites a person and passes the parasites into the person’s blood stream.

 These parasites then travel through the blood to the liver, where they mature and reproduce.

        Because his symptoms had persisted for over two weeks by the time the blood test revealed

 the disease, Mr. Ng’s severe Leptospirosis and Malaria had advanced beyond the point that the

 prison’s medical personnel could help him. He was transferred to a hospital outside the prison,

 where for nearly a week he was aggressively treated intravenously with antibiotics and rehydration

 fluids. After being discharged from the hospital, he spent another four weeks in the prison

 infirmary.

        The six months in this Malaysian prison changed Mr. Ng forever. More than anything, he

 was traumatized. The combination of being very sick, in pain, alone, frightened and not knowing



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 if anyone would help him caused severe emotional trauma that he has yet to overcome. He lost the

 ability to sleep for any appreciable periods straight. He developed nightmares and fears of being

 around others. The Leptospirosis ravaged his digestive system to the point that there are only a

 handful of foods he can tolerate.

        He also had no way of knowing when the trauma would end. When he waived extradition,

 the undersigned conveyed to him what the Government had indicated was the likely timetable to

 be transported to the U.S.—which was approximately five weeks. It turns out, Mr. Ng waited

 almost three months to be taken out of the jail and to the U.S.

        While each episode of inhuman treatment is inhuman in its own way, the common thread

 of the cases is that a fellow human being, vulnerable and powerless, was subjected to objectively

 sub-human treatment at the hands of government officials such that this person’s life will never be

 the same, that the emotional scars will never fully heal, and that regardless of what the future may

 hold, that person’s life has forever changed for the worse.

                4. Even After Being Released from Sungai Buloh Prison, Mr. Ng Has Been
                   Isolated From His Wife, Child and Family for Almost Another Four Years

        After waiving extradition on February 15, 2019, then suffering for almost three more

 months in Sungai Buloh Prison, on May 6, 2019, Mr. Ng was arraigned and put on house arrest

 with restrictive conditions. Aside from meetings with his counsel, he had almost no ability to leave

 his small apartment. While he did spend long hours alone, counsel took solace in the fact that at

 least he was safe and was in a place with basic human amenities. However, when counsel advised

 him that he could expect a trial in the U.S. within a year, neither counsel nor anyone else foresaw

 what would begin to take shape toward the end of 2019.

        As the Court will recall, one of the key dilemmas facing defense counsel was trying to

 secure documentation, particularly relating to the money invested with Judy Chan Leissner, that


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 was located in China. During the November 11, 2019, court conference, counsel advised the Court

 that “there’s important evidence overseas that we are still trying to get our hands on.” By late

 January 2020, the undersigned had a phone conversation with a representative of the U.S. Center

 for Disease Control, who advised counsel against travelling to China and parts of Southeast Asia.

 These were the earliest days of the Covid pandemic, which was still confined to China.

 Unfortunately, that is where the documents we were looking for were located. In March 2020, the

 world closed down. Between the volume of discovery and counsel’s need to travel, it became a

 forgone conclusion that the trial in this case would be delayed for years. Ultimately, the Court

 made this trial a priority, which we greatly appreciate, and we started the trial on February 7, 2022.

 However, while the parties and the Court were focused on the case, Mr. Ng dealt privately with

 the hardship of his being alone, thousands of miles from his wife and child, with no family, friends

 or any social life whatsoever, watching his young daughter grow up from afar, watching his mother

 grow older, and being denied a life with his wife and family.

        In this section, we ask the Court to view the 1,403 days between May 6, 2019, and March

 9, 2023, as being a form of punishment already imposed. We understand that unlike the time that

 Mr. Ng was in prison in Malaysia on U.S. charges, which counts toward a jail sentence, that time

 on house arrest or on release with restrictive conditions does not legally count as incarceration.

 Accordingly, we do not ask the Court to count this time formally. Rather, we ask that the Court

 view this period of almost four years as a Section 3553(a) factor that would reduce any jail term

 set by the Court.

        Given the unique nature of Mr. Ng’s pretrial conditions, specifically that Mr. Ng was alone,

 that his wife and child were 10,000 miles away, and that his freedom was dramatically curtailed

 by being compelled to remain in a country not his own for four years, he has suffered a form of



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 punishment unlike the typical defendant on house arrest. The typical house arrest involves a

 defendant living in his home with his family. A defendant under house arrest does not have to

 endure the radical upending of one’s life. Nor is he confronted with the most punishing of all

 prison-type conditions: isolation, loneliness and separation. What Mr. Ng has experienced over the

 last 1,403 days is far more akin to the punishment inherent in a prison setting than it is to a typical

 defendant under house arrest. Indeed, in many ways, Mr. Ng’s experience is more physically and

 psychologically challenging than if he was in a proper, humane prison setting, complete with

 family visits, edible food and basic necessities.

        Also, this almost four year period must be viewed in conjunction with the trauma of his

 prison experience that came before it. Rather than being in a familiar, safe environment to heel

 from the trauma of prison, Mr. Ng was transported by federal agents to the other side of the earth

 and placed on house arrest, alone, away from his family for an unknowable duration of time. The

 only thing to occupy his already anxious, fearful mind was the unparalleled stress of being the only

 defendant actively prosecuted by the U.S. for the single largest crime in Malaysian history. In this

 situation, Mr. Ng was doomed to continue to suffer the emotional trauma that started in prison.

 This is why his counsel persistently asked the Court to try to make his trial a priority, despite the

 trial backlog facing the Court. Ultimately, Your Honor did make Mr. Ng’s trial a priority and he

 and his counsel will always be grateful.

                5. Given Mr. Ng’s Character and Circumstances, Court Does Not Need to
                   Impose Further Incarceration to Achieve Specific Deterrence

        Given Mr. Ng’s personal circumstances, including the punishment he has already suffered,

 that he was on supervised release with this Court for four years without incident, that this was his

 first arrest, and that he will never again work in banking or for an American company in any

 industry, the risk of his violating the laws of any country is remote; and his risk of violating a U.S.


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 law is virtually non-existent. Accordingly, this Court does not need to impose additional

 incarceration in order to specifically deter Mr. Ng, under the particular circumstances here.

        Due to the facts of this case, a sentence of time-served would reflect the needs for “adequate

 deterrence to criminal conduct,” to “protect the public from further crimes of the defendant,” and

 to “promote respect for the law,” as required by 18 U.S.C. § 3553(a)(2)(A)-(C). Under this prong

 of Section 3553(a), courts assess how to affix a sentence that is sufficient, but not greater than

 necessary to comply with the statutory purpose of specific deterrence. The Supreme Court has

 further emphasized this fundamental goal in sentencing. The “likelihood that [a defendant] will

 engage in future criminal conduct” is “a central factor that district courts must assess when

 imposing sentence.” Pepper v. United States, 131 S. Ct. 1229, 1242 (2011). We respectfully submit

 these concerns are met in this case with a sentence of time served.

        After considering Mr. Ng’s life and individual characteristics and considering the relevant

 18 U.S.C. § 3553 factors, this Court should find that a sentence of time-served is “sufficient, but

 not greater than necessary” to accomplish the goals of sentencing. The brutal Malaysian

 incarceration and subsequent isolation that Mr. Ng has suffered in the past five years, and

 particularly how he has responded to this adversity, have demonstrated Mr. Ng’s true character

 and his unyielding respect for the law. He will not commit future crimes. He will not put his family,

 friends, and his community at risk. In the past five years, he has fastidiously dedicated his time to

 preparing for his trial, being the best father possible despite the difficult circumstances and being

 a model defendant under pretrial supervision.

        This last point deserves further explanation. In four years of being absolutely alone in a

 foreign country with the isolation of Covid, the crushing anxiety of not just any trial, but one of

 the most important, controversial trials in Malaysian history, and while being 10,000 miles from



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 all his family and friends while these frightening events unfold, Mr. Ng has nonetheless comported

 himself at every moment with respectfulness, grace and an inner courage that is truly extraordinary.

 As Ms. Geragos writes, “Through it all, Roger never once complained.” (Ex. 15, Letter of Teny

 Geragos at 3.) He unfailingly shows full and complete respect for each and every person associated

 with our judicial system and with everyone he meets. And, he has done so while enduring

 unimaginable personal and family hardships.

        So, our first appeal to the Court to view Mr. Ng as someone who, even without further

 incarceration in this case, will never commit a future crime, is based exclusively on his

 demonstrated character, especially during the adversity he has experienced. However, there are

 other factors as well.

        First, given the horrors he endured in Malaysia, he presents little risk of recidivism. As

 detailed extensively above, Mr. Ng suffered greatly in the Malaysian prison. He is still feeling the

 effects of the incarceration. This experience alone can give the Court assurances that he will never

 break the law of any country.

        Second, Mr. Ng will never be employed as a banker again at Goldman, or any other bank.

 His felony conviction for FCPA and money laundering violations render him essentially un-hirable

 at a bank similar to those who previously employed him—Deutsche Bank and Goldman.

 Therefore, even if he was inclined to commit additional crimes – and we submit he certainly is not

 – he will be unable to do so. See United States v. Wynaar, No. 09-CR-656, 2010 WL 3718912, at

 *2 (E.D.N.Y. Sept. 13, 2010) (“Specific deterrence is achieved through incapacitation and the

 impact of this conviction on the defendant’s employability.”); United States v. Amarante, No. 08-

 CR-76, 2008 WL 4427917, at *2 (E.D.N.Y. Sept. 22, 2008) (“Specific deterrence is satisfied by




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 the sentence in light of the defendant’s law abiding background and the fact that he cannot apply

 for certain employment because of this felony conviction.”).

        Third, Mr. Ng will almost certainly not ever work for another U.S. company and will

 unlikely be permitted into the United States due to the instant conviction. For the reasons stated in

 this section, it is highly unlikely that Mr. Ng will violate any nation’s laws. However, Section

 3553(a) appears concerned only with specific deterrence concerning crimes against Americans or

 American interests.

        Fourth, Mr. Ng is a first-time offender who has not committed any other crimes before or

 since. See United States v. Jenkins, 854 F.3d 181, 192 (2d Cir. 2017) (discussing how recidivism

 substantially decreases with age). Even assuming, as the Court must at this juncture, that Mr. Ng

 committed these crimes, any of Mr. Ng’s arguable wrongdoing ceased in September 2013, almost

 a decade ago. Contrast this with Mr. Ng’s co-conspirators, Jho Low, Tim Leissner, Jasmine Loo

 and Terrence Geh. Low, indicted with Mr. Ng in 2018, has been a fugitive since 2016. He has

 settled civil forfeiture lawsuits with the Department of Justice from some unknown country, even

 negotiating that $15 million dollar of the frozen funds be paid to his attorneys. 10 Similarly, Loo

 and Geh have also fled Malaysia and evaded prosecution by any country. Leissner continued to

 commit crimes even after his arrest and has continued to commit a fraud against Mr. Ng to this

 day. (See Ex. 22, Roger Ng v. Tim Leissner Summons and Complaint.) He has admitted lying to

 the Department of Justice for months after his arrest, including lying about Mr. Ng’s involvement

 in the 1MDB scheme despite the lack of evidence. And following the bond deals, he continued to




 10
   Matthew Goldstein, Jho Low Will Give Up as Much as $900 Million in Assets in 1MDB
 Scandal, N.Y. Times, Oct. 30, 2019, at https://www.nytimes.com/2019/10/30/business/jho-low-
 1mdb-malaysia.html.

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 receive 1MDB funds. (DX-1240; DX 1241.) In 2014, Leissner-controlled entities received at least

 $50 million in transfers from Low-related entities traceable to 1MDB. (Tr. at 2970-78.) In 2017,

 he also received a €145 million transfer from a Low-directed entity to a Leissner-controlled entity.

 (Tr. at 2291.) One month before his arrest, he was attempting to flee to Brazil with his mistress

 (Tr. at 1335-1337) and sell approximately $150 million in assets to hold in Liechtenstein, a country

 known for its strict bank secrecy (Tr. 2304-08).

        On the other hand, Mr. Ng stayed in Malaysia when the news about 1MDB started to hit

 the press. He traveled around Asia consistent with his duties for Celsius, including traveling to

 Singapore. When he traveled to Singapore for Celsius in 2017, he was banned from leaving for

 three months. During those three months, he sat down with Singaporean authorities twenty-two

 times and cooperated extensively with their investigation. Once allowed home, he flew back to

 Malaysia and stayed in Malaysia at the same address he had lived in for TEN years. In fact, Mr.

 Ng even traveled to Hong Kong and Beijing to meet Celsius distributors prior to his scheduled

 return to Singapore to continue his cooperation.

        Given Mr. Ng’s demonstrated strength of character, imprisonment in Malaysia, his being

 unemployable as a banker or with a U.S. company, his compliance with four years of court-

 imposed restrictions, the low chance of recidivism and his lack of criminal history, a further prison

 sentence is not required to achieve specific deterrence.

                6. A Sentence of Further Incarceration Will Not Further General Deterrence

        General deterrence is often a major sentencing consideration in any white-collar case. It

 is especially important where, as here, the case is of great public concern and is widely reported.

 We expect the Government to argue that Mr. Ng must receive a stern sentence to further general

 deterrence, and we address that issue here.



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        There are three reasons why the Court need not sentence Mr. Ng to further incarceration in

 order to promote general deterrence. First, the punishment that Mr. Ng has suffered already is more

 than sufficient to deter any executive from committing a similar offense. Second, the

 Government’s prosecution of Goldman Sachs Group, resulting in a Deferred Prosecution

 Agreement, and of Goldman Sachs (Malaysia) Sdn Bhd, resulting in a guilty plea to Conspiracy

 to violate the bribery provision of the FCPA, and a total financial penalty of about $3 billion serves

 as potent deterrence to corporations and executives all over the world. Third, the comprehensive

 prosecutions by the Malaysian government, which charged Mr. Ng, Leissner, Low and others also

 provides powerful general deterrence, making it unnecessary to further punish Mr. Ng.

                    a. Mr. Ng’s Imprisonment in Malaysia Is Terrifying and Effective General
                       Deterrence

        Nothing puts the fear of God into a typical financial executive more than the thought of

 being in a cramped cell exposed to diseased rats and mosquitos, sleeping on a wet concrete floor

 covered with fecal matter and almost dying of severe Leptospirosis and Malaria. News of Mr. Ng’s

 conditions have been reported in the press in a case where finance executives around the world are

 following the matter closely.11 And, if that somehow was not enough, it is also relevant that the

 Malaysian government already recovered all of the allegedly ill-gotten gains of the 1MDB offenses

 as well as substantial other monies in the control of Mr. Ng’s family members. In sum, Mr. Ng has




 11
   See Chester Tay, Ex-Goldman Sachs banker Roger Ng denied bail, The Edge Markets, Jan. 7,
 2019, at https://www.theedgemarkets.com/article/exgoldman-sachs-banker-roger-ng-denied-bail
 (“Ng was hospitalized for five days from Dec 3, suffering from illnesses like leptospirosis, food
 poisoning, dengue and viral infection.”); see also Khairah Kairm, Court denies bail for Roger Ng,
 New      Straits     Times,   Jan.    7,     2019,    at    https://www.nst.com.my/news/crime-
 courts/2019/01/447843/court-denies-bail-roger-ng (“He (Ng) is unwell and the prison department
 will show that it is true.”)

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 already been punished savagely, completely and publicly. No further message to the world’s

 executives need be sent.

                    b. The U.S. Prosecution of Goldman Is Effective General Deterrence

        The FCPA is designed to prevent U.S. companies and their executives from committing

 foreign bribery to beat out the competition in securing lucrative business opportunities, and to

 dissuade them from altering the company’s accounting in covering up the bribery. By prosecuting

 Goldman and by securing a deferred prosecution agreement from Goldman Sachs Group and a

 guilty plea from Goldman Sachs (Malaysia) together with a $3 billion financial penalty, the

 Government has already achieved the full measure of general deterrence.

                    c. The Malaysian Cases Provide General Deterrence

        The Attorney General’s Chambers of Malaysia has brought a series of criminal

 prosecutions in connection with the events related to the 1MDB matter. The Malaysian cases are

 comprehensive in their scope and should be viewed by the Court as providing effective general

 deterrence, especially alongside the U.S. prosecution of Goldman. So the Court can appreciate the

 general nature of the cases, we briefly summarize them here.

                            i.   The SRC Case Against the Former Prime Minister

        In July 2018, Malaysia charged former Prime Minister Najib Razak with crimes related to

 a subsidiary of 1MDB called SRC International, from which the former Prime Minister allegedly

 stole $42 million. These events are wholly unrelated to the three bond deals at the center of the

 U.S. case. Razak went to trial and was convicted, and sentenced to 12 years. He is currently serving

 his prison sentence.




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                            ii.   The Low Theft Case

            In August 2018, Malaysia charged Jho Low and his father, Larry Low, with theft and

 money laundering in connection with money stolen from 1MDB. Jho and Larry Low were

 convicted in absentia. They remain fugitives.

                           iii.   The 1MDB Case Against the Former Prime Minister

            In September 2018, Malaysia charged former Prime Minister Razak with a second case

 involving, among other things, “criminal breach of trust” in connection with the 1MDB theft. This

 trial is ongoing.

                           iv.    The 1MDB Case Against Mr. Ng, Low, Jasmine Loo, Leissner and
                                  Goldman Sachs

            On December 17, 2018, about six weeks after the United States charges were unsealed,

 Malaysia charged Jho Low, Jasmine Loo, Tim Leissner, Roger Ng and certain Goldman Sachs

 subsidiaries with crimes relating to misappropriating the 1MDB bond proceeds. Of the four

 individual defendants charged in this case, only Mr. Ng has appeared before the court for his

 charges of abetting Goldman to omit facts and make untrue statements in the sale of 1MDB bonds.

 Low, Loo and Leissner remain active fugitives in Malaysia. Indeed, Leissner is a fugitive from

 Malaysia despite his being a past and current cooperating witness with the U.S. Department of

 Justice.

            On January 9, 2023, at a court hearing of Mr. Ng’s case in Malaysia, the Deputy Public

 Prosecutor recommended that Mr. Ng be given something called a “Discharge Not Amounting to

 an Acquittal” (“DNAA”), which was granted by the Court. The basis for the DNAA, according to

 the prosecutor, was that Mr. Ng had still not been sentenced in the U.S. case. The prosecutor stated,

 “we have clearly stated that we want to carry on with this case. [But] because the DOJ is taking so




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 long, we are asking for a DNAA.”12 Mr. Ng faces up to ten years in prison in Malaysia in

 connection with this Malaysian matter.

                         v.     The Goldman Sachs Corporate and Directors Case

        On August 9, 2019, Malaysia charged Goldman Sachs International, Goldman Sachs (Asia)

 LLC and Goldman Sachs (Singapore) Pte. as well as 17 directors of these three entities. In July

 2020, Goldman and the Malaysian government settled this case with Goldman paying $2.5 billion,

 promising to return another $1.4 billion, and in exchange all charges against Goldman and these

 17 directors were dismissed.

                         vi.    The False Audit Report Case Against the Former Prime Minister

        Finally, on December 12, 2019, Malaysia charged former Prime Minister Razak with a

 third case involving the falsification of the 1MDB audit report. This case is still in a pretrial

 posture.

        The relevance of this series of Malaysian prosecutions concerning events related to the

 theft from 1MDB and related crimes is that these cases provide substantial general deterrence

 against corporate malfeasance generally, including large banks such as Goldman. In the context of

 the sweeping cases brought by the Malaysian government to eradicate corruption in Malaysia,

 punish its former Prime Minister, return to the people of Malaysia the money misappropriated

 from a public fund, and bring to justice the responsible parties, the U.S. need not severely punish

 Mr. Ng to achieve general deterrence, which has been attained already by these Malaysian

 prosecutions.



 12
    Timony Achariam, Roger Ng given DNAA while Malaysian court awaits conclusion of his
 American trial, The Edge Markets, Jan. 9, 2023, at
 https://www.theedgemarkets.com/node/651023.

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        In sum, because Mr. Ng has already been severely and publicly punished, because the U.S.

 has recovered $3 billion from Goldman, because Malaysia has recovered, and will recover, almost

 $4 billion from Goldman, in addition to the other Malaysian matters, this Court does not need to

 sentenced Mr. Ng to additional incarceration to achieve general deterrence.

                7. Mr. Ng Has Already Suffered More Than Anyone Else Involved in the 1MDB
                   Theft

        Roger Ng is the person with the least authority, influence and power of virtually everyone

 involved in the series of crimes concerning 1MDB; he is also one of the few people being punished.

        Both the U.S. and the Malaysian Government charged Goldman with fraud, bribery, and

 other crimes committed in both countries. The bank realized over $600 million in profit from the

 1MDB deals, funds that were spread among the partners of the bank. The Government of Malaysia

 charged 17 members of Goldman, most of them partners, with various Malaysian crimes. As part

 of the corporate-wide financial settlement between Malaysia and Goldman, all of the Goldman

 executives saw their cases get dismissed, without them ever setting foot in a Malaysian courtroom,

 or sleeping on the filth-covered cement floor of a Malaysian prison. In short, in exchange for $3.9

 billion, the Malaysian Government gave Goldman and these 17 individual Goldman defendants a

 complete pass. They never had to leave their homes, go to a courtroom or be inconvenienced in

 any way.

        The U.S. Government charged Goldman with bribing Malaysian and United Arab Emirates

 public officials, alleging corporate-wide malfeasance in connection with the lucrative 1MDB bond

 deals. Goldman resolved the U.S. case by paying another $3 billion (bringing the total amount paid

 by the bank to about $7 billion) in exchange for a Deferred Prosecution Agreement for Goldman

 Sachs Group. In addition, Goldman Sachs (Singapore) entered a corporate guilty plea. The U.S.

 Government prosecuted one Goldman partner, Tim Leissner, who has yet to set foot in a prison.


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 Rather, despite the fact that Leissner repeatedly lied to the agents in multiple proffer sessions about

 central issues in the investigation, the Government awarded him with a cooperation agreement,

 permitted him to secure his bail with shares of a company called Celsius that he stole from Mr. Ng

 (see, Ex. 22), is permitting him to remain a fugitive from justice in the Malaysian case in which he

 is charged with stealing from 1MDB, and will, one day soon, ask this Court for a lenient sentence

 in exchange for his valuable assistance.

        The one person not getting any of this treatment from the U.S. Government is the one who

 is not a partner at Goldman: Roger Ng. Unlike Leissner who was “arrested” by the FBI and brought

 to a Residence Inn, Mr. Ng languished in a Malaysian prison and contracted life-threatening and

 horrid illnesses. Unlike Leissner, who was permitted to live in his $30 million Beverly Hills

 mansion that he bought with stolen money, Mr. Ng was forced to wait in this country for four years

 – most of that time under house arrest - for his trial.

        The Government reached a financial settlement with Jho Low whereby Low relinquished

 about $900 million to the U.S. Government. Low reported after the financial settlement he reached

 with the U.S. Department of Justice that all outstanding matters were resolved. Like Leissner, Low

 has not seen the inside of a jail cell. The Government may reply that Low is a fugitive and beyond

 its reach. Low is a fugitive and has never been to jail because Low fled to avoid apprehension.

 Mr. Ng suffered in a Malaysian prison and stood trial in the U.S. because he did not flee.

         The Government of Singapore conducted a criminal investigation. As noted, Mr. Ng was

 forced to remain in Singapore for three months in 2017 to answer questions about 1MDB and the

 proceeds that were stolen. The investigation focused on BSI Bank’s Singapore branch, where the

 prosecution witness, Kevin Swampillai, was employed. Swampillai testified that in fact he lied to

 1MDB’s auditor, KPMG, in connection with its audit of 1MDB. He lied that 1MDB had far greater



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 liquid assets than they actually had. He then altered the minutes of an audit meeting to perpetuate

 that lie. He also said that he received almost $6 million in illegal kickbacks. Swampillai told the

 jury what his punishment was: “I had a warning in lieu of prosecution.” (Tr. at 3292).

          While Low, Leissner, the 17 Goldman Sachs executives and dozens of others continue to

 live in their homes, pursue employment opportunities, spend time with loved ones and live free

 lives after reaching financial or other settlements, Mr. Ng has not. The Government may ask that

 this Court sentence Mr. Ng in a way that sends a message to the world that crime does not pay.

 But what message has the Government already sent by cutting multi-billion-dollar deals with the

 world’s most powerful bank that results in none of its highest-ranking members being indicted?

 What message does the government send when it allows a fugitive from Malaysia to remain a

 government cooperator without having to answer to Malaysia for the money he stole from

 Malaysia? The message of this case is this: The Goldman’s of the world will pay for their crimes

 with money; the Mr. Ng’s of the world will pay with the number of days they have left on this

 earth.

          However, we are better than that. Mr. Ng waived extradition and came to this country

 because we are better than that. We are better than that because the law in this country takes into

 account the suffering Mr. Ng has clearly experienced, it allows a sentencing judge to take account

 of his character and the unique experiences he has had. We are better than that because a sentencing

 judge can review all of the participants in a given situation, see how, if at all, punishment has been

 apportioned and deliver a sentence that is fair.




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                 8. A Sentence of Time-Served Will Permit Mr. Ng to Return to Malaysia to Face
                    Whatever Prosecution His Home Country Sees Fit

          A sentence of time-served will permit Mr. Ng to return to Malaysia so that the Malaysian

 Attorney General can determine how to proceed with the charges filed against Ng, Leissner, 13 Low

 and Jasmine Loo. As noted, the Malaysian prosecutor stated at the last Court conference that it

 intends to pursue the Ng case once Mr. Ng returns to the jurisdiction. Obviously, Malaysia has a

 supreme interest in resolving the 1MDB-related matters insofar as 1MDB was a Malaysian fund

 consisting of Malaysian money that was embezzled with the alleged involvement of the Malaysian

 Prime Minister. The U.S. Government has consistently acknowledged the need to return Mr. Ng

 to Malaysian authorities as soon as possible. In a letter from Jeffrey Olson, Associate Director of

 the U.S. Department of Justice Office of International Affairs



                                                                     hat in the event that Mr. Ng is

 convicted and sentenced,

                                                                                            (Ex. 23,

 March 7, 2019, Letter of Jeffrey Olson, Associate Director of the U.S. DOJ OIA.)

          In terms of the timing of Mr. Ng being returned to Malaysia, Associate Director Olson

 wrote,



      As we know, Mr. Ng arrived in the U.S. on May 6, 2019. Six months from that date would

 be November 6, 2019. Due to circumstances beyond the Court’s and the defendant’s control, the



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   Like Ng, Leissner is also charged in Malaysia, but rather than submitting to the jurisdiction of
 the Malaysian Court, as Ng did with the United States, Leissner will be continuing his open and
 notorious fugitivity while cooperating with the U.S. Justice Department.

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 trial actually started on February 14, 2022, two years and three months later than the estimate the

 U.S. provided to Malaysia.

        By assuring the Malaysian Attorney General’s office that Mr. Ng would be tried promptly

 and then returned to Malaysia prior to him having to serve any U.S. sentence that was imposed,

 the U.S. Department of Justice formally recognized that Malaysia has a compelling interest in

 resolving its matter promptly one way or the other, and that the U.S. was deferring to that interest

 in terms of asking the sentencing judge to permit Mr. Ng to return to Malaysia before surrendering

 to a U.S. prison.

        Similarly, Mr. Ng has the right to resolve his Malaysian matter as promptly as possible.

 Just as Mr. Ng has lived for four-and-a-half years with the U.S. matter hanging over his head, so

 too has he had to endure pending, unresolved, serious criminal charges in his home country during

 this entire period. Indeed, he continues to face those charges, as the Malaysian press has widely

 reported that upon his return to Malaysia, the Malaysian case will proceed.

        Living as a charged criminal defendant takes an immense emotional toll. For Mr. Ng, this

 means chronic anxiety, feelings of hopelessness,                        terror that he will never see

 his daughter, wife and mother again, and deep and profound depression. Anyone who believes that

 the only punishment in a criminal case is prison has not spent enough time with people under

 indictment. Mr. Ng has had to live like this for over four-and-a-half years, and has had to do so

 facing two cases in two countries.

        We ask this Court to sentence Mr. Ng to time served so that he can return to his home

 country and resolve the Malaysian matter. In closing on this point, it is ironic that counsel for Mr.

 Ng is asking for precisely that which Leissner continues to avoid: honoring one’s legal obligations

 to face justice rather than continuing to be a fugitive.



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                9. Further Incarceration Would Work an Atypical and Extreme Hardship

        Further incarceration of Mr. Ng would cause extreme hardship that is both unique and far

 outside the heartland of typical hardship suffered by someone serving a prison sentence.

        As an initial point, and as has been discussed already, Mr. Ng was exposed to brutal prison

 conditions that have already taken a severe psychological toll. Once outgoing, gregarious, and self-

 confident (while always remaining humble), Mr. Ng presents now as scared, beaten and

 vulnerable. While he has grown close to his lawyers, even this has taken considerable time. He has

 no friends. He has lived his last four years in this country without a single friend. Through both

 necessity and choice, Mr. Ng spends long hours completely alone. As noted, he reads to his

 daughter and speaks with her as much as he can. He also remains in close contact with his wife

 and other family in Malaysia. However, he appears to be afraid of people he does not know. He is

 hesitant to speak with them or to engage them in any regard. That he has been able to speak openly

 with his Pretrial Services Officer Bianca Carter who has been a wonderful and supportive resource,

 and whose compassion has been a blessing to Mr. Ng and his lawyers, is a credit to Officer Carter

 and to Mr. Ng’s ability to trust and even rely upon people once he sees they are good-intentioned

 and hope to help him.

        Another person whom Mr. Ng met who had an important impact on his life was the

 Probation Officer, Jennifer Baumann. On June 24, 2022, Mr. Ng had a Pre-Sentence Investigation

 Report interview with Probation Officer Baumann. Toward the end of the interview, Probation

 Officer Baumann raised the topic of Mr. Ng getting mental health counseling, saying in substance,

 that Mr. Ng could benefit from such counseling. By early August, 2022, Mr. Ng was regularly

 seeing a therapist provided by the Court. By September 2022, Mr. Ng was provided with a

 Psychiatrist named Dr. Lama Bazzi. Doctor Bazzi has provided a Psychiatric Evaluation of Mr.

 Ng. (See Ex. 24, Psychiatric Evaluation.)

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        Being provided with a therapist and a psychiatrist by the Court was an important

 development for Mr. Ng. Mr. Ng had never spoken with a therapist until he spoke with Jennifer

 McCarthy in August 2022. (See Ex. 2, Letter of Roger Ng at 10.) Ms. McCarthy recommended

 that Mr. Ng come under the care of a psychiatrist, Lama Bazzi. In advance of sentence, we asked

 Dr. Bazzi to draft a Psychiatric Evaluation of Mr. Ng and she did so. (See Ex. 24, Psychiatric

 Evaluation.)

        In relevant part, Doctor Bazzi stated that Mr. Ng “presented with depressed mood,

 heightened anxiety, rumination, fearfulness, and insomnia.” (Id. at 5.) She reports that Mr. Ng

 “remained convinced that he was suffering from a silent illness that would kill him unexpectedly,”

 and that he has somatic fears that “he is actually dying and no one will help him, and he imagines

 himself dead, alone, for days before anyone notices, almost on a daily basis.” (Id. at 5-6.) She

 further reported that Mr. Ng “is hypervigilant and mistrustful, he has mood swings, he has

 difficulty sleeping, he suffers from foreshortened sense of the future, is constantly waiting for

 something bad to happen, and he lives in fear of those in authority who have control of his life

 subjecting him to solitary confinement or locking him in a small space.” (Id. at 5.) The doctor

 observed that Mr. Ng “has nightmares, awakens in cold sweats on a nightly basis and is unable to

 sleep without                               or now, high doses of Gabapentin.” (Id.) She further

 stated that “he has panic attacks in crowds because he has flashbacks to being in the bus, shackled

 to other prisoners, sick, vomiting, and suffering from diarrhea and delirium.” (Id.)

        The doctor continued, “He is desperately afraid of confinement and he dissociates

 completely when he thinks about how it will feel to be in a small room, alone, cold, and wet, again.

 He frequently hyperventilates when he thinks about confinement and the unknown nature of his

 future makes him feel more helpless, hopeless, and completely alone.” (Id.)



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         Based on these and other observations, Doctor Bazzi diagnosed Mr. Ng as suffering from

 Posttraumatic Stress Disorder (“PTSD”), a psychiatric disorder occurring in people who have

 experienced or witnessed a traumatic event. (Id. at 4.) In particular, the Doctor indicated that Mr.

 Ng’s “experiences of confinement in Malaysia rise to the level of Criterion A of PTSD.” (Id. at

 6.) According to the Diagnostic and Statistical Manual of Mental Health Disorders, Fifth Edition

 (DSM-5), Criterion A involves “exposure to actual or threatened death, serious injury, or sexual

 violence in one (or more) of the following ways: (1) directly experiencing the traumatic event; (2)

 witnessing in person, the event as it occurred to others; (3) learning that the traumatic event

 occurred to a close family member or close friend; and (4) experiencing repeated or extreme

 exposure to aversive details of the traumatic event (i.e. first responders…)”

         In discussing Mr. Ng’s PTSD diagnosis, the doctor further stated that Mr. Ng has

 “symptoms of genuine PTSD that he does not thrust forward and that he avoids discussing, if he

 can. He is emotionally detached from his experiences but simultaneously clearly has intrusive

 thoughts about his past and is scared to reactivate his PTSD and avoids talking about the details of

 his confinement.” (Id. at 5.) She continued:

         that because Mr. Ng “suffers from PTSD and has frequent dissociation from reality,
         he sometimes appears unengaged in the conversation or distant from the emotions
         associated with his trauma. This is a hallmark of PTSD and is a primitive defense
         mechanism that occurs when he is flooded emotionally and feels completely
         incapacitated by his experiences.

 (Id.) The doctor concludes that Mr. Ng’s “symptoms are unlikely to resolve spontaneously:

         his PTSD is likely going to be exacerbated by confinement and by any experiences
         that reactivate his trauma. The prognosis for PTSD, even in the best of
         circumstances, is guarded because the individual must first be able to believe that
         the world can be safe for them and that they are competent in navigating their
         circumstances and that they have agency over their lives and their future. Because
         this is not the case for Mr. [Ng], it is likely that his PTSD is chronic in nature, and
         he will decompensate in times of stress and in situations that reactivate his trauma.

 (Id. at 6.)

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        In light of the cruel and inhumane treatment Mr. Ng received in the Malaysian prison and

 the almost four years being 10,000 miles away from all the people he loves, Mr. Ng has come to

 suffer symptoms of PTSD that have never resolved. In fact, given the stress of the criminal trial,

 the uncertain nature of his sentence and when, if ever, he will be with his wife, daughter and other

 family again, Mr. Ng has been under overwhelming stressors which have caused his PTSD

 symptoms to remain as powerfully as ever. As Doctor Bazzi makes clear, a sentence that requires

 Mr. Ng to go back to prison, after his experiences of prison in Malaysia, would exacerbate his

 PTSD symptoms. In a prison environment, Mr. Ng would decompensate because his trauma, which

 was caused by directly experiencing traumatic events involving death or threatened death, (see

 Criterion A of the DSM-5), was itself from his experiences in a prison.

        However, aside from this small handful of people, Mr. Ng has experienced a form of

 loneliness over these four years that few will ever experience. This is due to the particular

 circumstances Mr. Ng has faced. First, being brutally mistreated in a Malaysian prison and

 becoming very ill. Second, by being away from everyone he ever knew and loved awaiting a trial

 of massive proportions, both for him and for his native country. While the experiences of

 defendants passing through the justice system obviously vary, there are a few that are so far outside

 the norm as to be truly unique. This is such a situation. Mr. Ng has vulnerabilities that are unique

 given these unique circumstances.

        Another aspect of this case that presents a uniquely cruel hardship is the plight of Mr. Ng’s

 daughter if he is sentenced to serve a jail term in the United States. As noted,            was last

 with her father in the Fall of 2018, when she was six years old. In June 2023, she will be eleven

 years old. This five-year period is unlike anything affecting the typical U.S. prisoner, who is

 assured family visitation and can be physically present with his or her children. It would be a



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 hardship outside the heartland of typical hardship impacting children whose parent is in jail to keep

 Mr. Ng on the other side of the world from his daughter.

                10. As A Non-Citizen, Mr. Ng Is Not Entitled to Many of the Ameliorative
                    Sentencing Provisions Available to U.S. Citizens.

         Finally, as a non-citizen, Mr. Ng is not entitled to many of the ameliorative sentencing

 provisions available to U.S. citizens. Consequently, Mr. Ng would not be eligible for the 12-month

 sentence reduction through the RDAP drug-treatment program (even though Mr. Ng has suffered

                           since being extradited) or eligible to serve the last 9-12 months of his

 sentence on home confinement or half-way house. As a result, a 30-month sentence in this case

 would only be reduced by 15% for good time credit, leading to Mr. Ng spending approximately

 25.5 months in prison. Given his ineligibility for these provisions, a 30-month sentence for Mr.

 Ng is the equivalent of a 55-month sentence for a similarly situated U.S. citizen (i.e., 8.25 months

 off for good time credit, 12 months off for RDAP and the last 9 months in a half-way house or on

 home confinement, leading to approximately 25.75 months in prison on a 55-month sentence).

 Moreover, as a non-U.S. citizen, Mr. Ng would not be eligible to serve his time in a federal camp

 facility.




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                                          CONCLUSION

          Roger Ng is a humble, hard-working, religious, good man. He has been taken from his

 country, his family, his friends, his home. Stripped of his dignity in a Malaysian prison, he has

 been made to be sick, afraid, alone and hopeless, and still suffers the debilitating effects of PTSD.

 There would be no more noble exercise of the truest form of justice than to permit this soul to

 return home after all he has already been through. We respectfully request this Court sentence Mr.

 Ng to time served.

 Dated:         February 24, 2023
                New York, New York

                                                               Respectfully submitted,



                                                               Marc A. Agnifilo
                                                               Teny R. Geragos
                                                               Zach Intrater
                                                               Jacob Kaplan




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